Case 1:20-cv-01761-CRC Document1-2 Filed 06/29/20 Page 1 Of6fea

SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
CIVIL DIVISION

J.H.C.

By his father and next friend:
JOHN HARRISON CLARKE
2424 Pennsylvania Avenue, NW

Apartment 410
Washington, DC 20037

Plaintiff,

V.

DISTRICT OF COLUMBIA GOVERNMENT
Serve: Mayor Muriel Bowser
£350 Pennsylvania Avenue, NW
Washington, 20004

and

RICHARD TROGISCH
2130 G Street, NW
Washington, DC 20037,

and

SILEAN EAVES

2323 N Street, NW

Washington, DC 20037
and

NAELIS ERVIN

2323 N Street, NW

Washington, DC 20037,
and

JANE DOE,

Defendants.

emeet Nemt Nee Need Senne! Snr! Noel

Nm Nee Ne Ne Ne Ne ee ee ee ee ee ee ee ee Ce ee ee ee es es ee ee es ee te ee ee ee ee Oe

 

D.C. Superior Court
05/28/2020 18:2352M
Clerk of the Court

Civil Action No. 2020 CA 002622 B
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 2 of 69

COMPLAINT
(Injunctive Relief, Violation of the First Amendment to the
United States Constitution, Violation of the DC Human Rights Act,
Defamation, Intentional Infliction of Emotional Distress, Civil Conspiracy)

Jurisdiction
1. This Court has jurisdiction over this controversy under D.C. Code § 11-921.
Summary

2. This case arises out of a concerted effort by a teacher, her mother, and other
school personnel, to undermine, deflect attention away from, and retaliate against, three
students for their submissions of written accounts regarding a black teacher's misconduct,
by falsely accusing all three students of racial animus.

Parties

3. Plaintiff J.H.C. is a 14-year-old individual who is an Eighth grade student at
School Without Walls at Francis Stevens. He has been a student at that School for a decade,
since Kindergarten. As plaintiffis a minor, this action is brought by his “father and next
friend,” and sole legal custodian, John Harrison Clarke, who is hereinafter referred to as
“the undersigned,” or "counsel." Plaintiffis hereinafter referred to "J.H.C." or "plaintiff"
Other witnesses who have not reached the age of majority are hereinafter referred to by
initials, and the names of all minors have been redacted from the exhibits submitted
herewith.

4. The District of Columbia Public Schools ("DCPS") is an agency of defendant
District of Colombia. The mission of DCPS is to "ensure that every school guarantees
students reach their full potential through rigorous and joyful learning experiences

provided in a nurturing environment."
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 3 of 69

5. Defendant Richard Trogisch is an individual employed by DCPS. He holds the
position of Principal at School Without Walls High School (hereinafter "High School"), a
public magnet high school located at 2130 G Street, NW. Since 2014, Mr. Trogish has also
simultaneously served as Principal at School Without Walls at Francis Stevens (hereinafter
"the School"), which serves students from pre-Kindergarten through the Eighth grade, at
2425 N Street, NW, Washington, DC. Mr. Trogish is sued in both his individual and official
capacities. This defendant is hereinafter referred to as "defendant Trogish," or simply
"defendant."

6. Defendant Silean Eaves is an individual employed by DCPS, holding the
position of Assistant Principal at the School. As defendant Trogish's time is shared
between the two schools, defendant Eaves’ authority and duties at the School is more
pronounced than it would be if she had been serving as an Assistant Principal at a school
with a full-time Principal. Defendant Eaves is sued in both her individual and official
capacities.

7. Defendant Naelis Ervin is defendant Eaves' daughter. She is an individual
employed as a theatre teacher at the School. She also plans, organizes, and produces the
School's annual theatre presentation held at the conclusion of Black History Month, which
the School calls "Fade to Black." Defendant Ervin is sued in both her individual and official
capacities.

8. The captioned defendant referred to as Jane Doe is one or more individuals
committing overt acts identified below that are not yet attributed to an individual
defendant. Because plaintiff does not yet know whether all overt acts identified having

been committed by defendant Doe were committed by the same individual, nor her or their
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 4 of 69

identities, this person or persons are hereinafter referred to in the singular as "defendant
Doe." Plaintiff will seek leave of Court to amend his Complaint by substituting her or their
true names and actions instead of the fictitious name Doe when the same has been
ascertained.

Facts

 

9. On Tuesday morning, February 4, 2020, defendant Ervin had her theatre
class prepare a skit, in which some of the students wore street clothes over their school
uniforms. Defendant Ervin gave DE, a friend of J.H.C.'s, a scarf to wear. J.H.C. joked to DE,
"You look very woke,” meaning "pretentious" or "politically correct" (its usual use), which
remark had been occasioned by DE's "wearing a scarf over his blue shirt," indoors.

10. + Forreasons that still remain a mystery, defendant Ervin took the comment as
"racist rhetoric." She was outraged. She berated J.H.C., screaming, "J.H.C., what makes you
think it's okay to say what you said to DE? Was it because he was sitting next to two black
people?” Stunned, and unaware of who DE had been sitting next to, J.H.C. responded, "No."
Unconvinced, Ms. Irvin yelled, "Really?" and continued to berate J.H.C. "She was furious and
yelling,” J.H.C. wrote. "The whole time my heart was thumping and racing. A friend of mine
who was right next to me later described me as ‘looking like I was about to cry' and
‘scared.'" She ended her tirade with the declaration to the class, “Racist rhetoric will not be

tolerated!"
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 5 of 69

11. On Thursday morning, February 6, the substitute teacher in Ms. Ervin's class
had the children play the game "telephone." The phrase went around, and morphed into
"DE is woke" (through no fault of J.H.C.). Recalling Tuesday, a number of students found it
very funny, whereupon three girls started jumping around and yelling at J.H.C. and four of
his classmates; MI, ES, DE, and AL.

12. _—_ Later in the day, defendant Ervin encountered J.H.C. in the hallway, angrily
pulled him aside, and asked him and the other eighth graders present what had happened
earlier in the day with the substitute teacher. Upon being informed, defendant Ervin said
that if something like this happened again she would "give everyone zero’s for the rest of
the advisory,” and, while looking at J.H.C. and classmates EZ and ES, said that if she heard
any similar statements or comments she would "call the police for hate speech," and have

oF

the event placed on the students’ "permanent records."

13. After scolding the group some more, defendant Ervin said to ES that she was
extremely disappointed for letting his classmates "say racist things.” She continued, "You
can't let them do that. I'm doing this because you're a brown, black body," and "Next time |
will slap the sense into you." She continued, "Don't even try to do anything because I know
the DCPS handbook inside and out." Then, reacting to ES's response, she threatened, "Don't
roll your eyes at me ever again or I will knock your teeth out."

14. Shortly after witnessing the threats, J.H.C. inquired in the School's office
whether teachers were permitted to threaten students. An administrator asked what had

happened, and J.H.C. relayed the threats made to ES, and provided five names of witnesses

to the incident. Later in the day, J.H.C. told ES that he had reported defendant Irvin. ES
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 6 of 69

approved, and the two decided to return to the School's office at dismissal time to reporta
number of threats made by defendant Ervin.

15. Another classmate witness, EZ, joined J.H.C. and ES in the office after school
to report the threats. They told defendant Trogish and Assistant Principal Young about
what happened. Defendant Trogish instructed them to reduce their accounts to writing.

16. The next morning, Friday, February 7, before school, EZ, ES and J.H.C. all
submitted their written accounts of the aforementioned threats, and other threats of
physical ham, as well as other of defendant Ervin's bizarre behavior.

17. EZ wrote that Ms. Irvin "will randomly have outbursts in the classroom,"
which were "aggressive towards individuals" who she opines are racist. She makes
students "very uncomfortable." "Many students in this class have felt harassed," and "many
students feel threatened to come to class."

18. For good reason. EZ related that defendant Ervin had threatened to break his
fingers, saying, "if you draw another picture like that I'll make sure you'll never holda
pencil again. He also reported the threats to "slap," and "knock your teeth out.” Reported
non-physical threats included to "file a police report for hate crimes," and collective
punishment by “dropping all students’ grades to an F for anger towards certain students."

19. EZ wrote that Ms. Irvin has a history of "exaggerating the term ‘racist’ and
has been throwing this term out of proportion.” She "jumps straight to conclusion and
portrays something that was not intended to be hate speech a form of hate speech." EZ

provided these instances:
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 7 of 69

20.

(a) Defendant Ervin's "mistaken" belief that the word "woke" had been
"racially offensive;"

(b) Her opinion that a sketch of Martin Luther King, Jr., had depicted him
with monkey-like ears, notwithstanding that in all of EZ's
drawings, the ears were the same; and

(c) Her belief that a student who said that three girls had "jumped around
like monkeys" had been meant as a racist remark, even after the
student, who is black, explained otherwise.

"This teacher all in all," EZ concludes, "has been aggressive to the point

where students are intimidated to the point of oppression."

21.

ES, who had also been threatened, wrote that he personally does "not feel

safe in the theater class anymore because of the many threats that were told to me and my

classmates by the teacher."

22.

ES recounted when Ms. Ervin accused J.H.C. of racism by his use of the word,

"woke," and that, after the word's resurgence two days later, he was explaining to the girls

who became upset he and the other students were not laughing at the word, but rather, at

their reaction:

23.

On Tuesday J.H.C. said to DE are you woke and Ms. Ervin... started to say stuff
about how J.H.C. was being racist and asked, "Did you say that because DE is
in between two black people." J.H.C. said he did not mean it that way but she
didn't believe him and continued with a lot more accusation.

Then when we were going down the stairs to go to the auditorium | told the
girls that we were not laughing at the racist comment but at you, "How they
were jumping around like monkeys,” but right after I realized what I said was
not right in that situation. I said sorry and that I didn't mean it in that racist
way and that I meant it in a way off like very jumpy and moving around too
much. Also J am black so I know of all those racist comments that were
directed to our kind so | would never mean it in that way.

And ES described when Ms. Ervin had threatened him:

] was in the gym and was called out to go upstairs to talk to Ms. Ervin... She
was very loud and was asking me what I thought and asked what racist stuff
was | saying and | said what because | forgot what happened in the stairs
because | thought we already resolved that....
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 8 of 69

I told Ms. Ervin that ] didn't mean it in that way and she said, "Yeah right you
know what you meant," and | rolled my eyes and she said don't roll your eyes
at me ever again or | will knock your teeth out in like a threat at least that is
how it felt... Then when she dismissed everyone and she held me literally
and said wait. She asked, "Do you let them talk to you like that in a racist
way" (them as in white people) and | said no then she said that you should
not support it and] said] don't. Then she went in the class and said don't
allow anyone to say the "n-word" and said I wish anyone would say the "n-
word" around me] will knock their teeth out.

24. The facts recounted in J.H.C.'s submission corroborated EZ's and ES's reports
of the threats, except that J.H.C. included an instance of when Ms. Ervin had "threatened to
stab a child with scissors while making a stabbing motion."

25. On Friday, February 7, at 9:10 a.m., J.H.C. was summoned to the School office,
where ES and EZ were waiting, in the outer office. At around 9:40, Ms. Vest said these are
serious allegations and to remember to tell the truth. "That gave me confidence because
we were telling the truth and I reminded everyone to stick to the truth,” according to
].H.C.'s written account.

26. By the time the first student was called into the inner office, at around 11:00,
it had been two hours since the three whistleblowers had been summoned to the outer
office, and two-and-a-half hours after the three had submitted their accounts of teacher
misconduct. EZ was first. Present were four administrations, defendant Principal Richard
Trogish, defendant Assistant Principal Silean Eaves, Assistant Principal Shanna Young, and
Ms. Stephanie Beer. Ms. Eaves typed notes, and Ms. Young wrote onto a notepad.

Defendants had read, and studied, the students’ accounts, which had been submitted by

8:30 a.m.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 9 of 69

27. Unbeknownst to the students who were waiting, they all thought, to be
interviewed regarding defendant Ervin's misconduct, teacher malfeasance was not among
the subjects of the interviews, or, more accurately, interrogations

28. Forty-five minutes before the first interrogation began, at 10:15, defendant
Trogisch called the undersigned and said that he would be conducting two separate
investigations, one into the conduct of defendant Ervin, and one into J.H.C.'s conduct.
Defendant read from an email that had been sent to him the previous evening by the parent
of one of J.H.C.'s classmates. "My child reports," defendant read, "that J.H.C. says nigger all
the time, says that slavery is the best thing that ever happened to this country, that it
should be brought back, and says his black classmates look like monkeys." Incredulous,
counsel asked whether defendant had any corroboration. Defendant Trogisch responded,
"Not yet."

29. The School had no plans to query the students about Ms. Ervin's misconduct.
Rather, over the course of over three hours of grueling, separate, surprise interrogations,
the school accused each of racist behavior, lied to each that their classmates had called
them racist, and tried over and over again to have one inculpate the others. Defendants
accused each of racist misconduct which they knew to be false. Defendants sought to:

(a) Undermine and neutralize the students’ accounts of teacher
misconduct as untrue and having been motivated by racial animus;

(b)  Deflect attention away from the teacher's threats of physical harm;
and

(c) Retaliate against the three for their written explanations of what
events had occurred.

30. EZ's interrogation lasted about an hour. He reports that they had called him,

and J.H.C. and ES, racists, and specifically referred to J.H.C. as a racist. They repeatedly

asked him, "Why are you lying?" Throughout the interrogation, the questioners pressured
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 10 of 69

EZ to incriminate himself, J.H.C., and ES, as racists. They asked, over and over again,
whether he was aware that his classmates think he's a racist, why he thinks they may have
said that, and why he would associate with J.H.C. the racist. The interrogators claimed that
his answers were "fiction." "Did ES and J.H.C. pressure you to write what you wrote?"
defendant asked. "Why are you protecting racists?"

31. And they queried him about his having sketched Martin Luther King, Jr., with
big ears. But defendants Trogisch and Eaves knew that EZ had explained in his written
statement that all his sketches of historical figures had big ears. Ms. Young declared that
she had been "personally offended" by the drawing.

32. Dissatisfied with his repeated denials, defendant threatened to expel EZ. But,
he continued, if EZ would cooperate, things would go easier on him. "What about Ms.
Ervin?" EZ pleaded. "We will talk to her,” defendant perfunctorily responded. Defendants
asked nota single question about Ms. Ervin's misconduct.

33. ES wasnext. This confrontation lasted just under an hour. The subject of Ms.
Irvin's threats were discussed only at ES's insistence, and here too the only response was,
"We will speak with Ms. Ervin." Defendants accused ES of having called the girls who were
upset over the telephone game's end-product, "DE is woke," as having "looked like
monkeys." But here too defendants had read ES's written account that he had not meant it
as a racial slur. He repeatedly explained that he said they were “acting like monkeys." In
ES's view, the statement “looked like monkeys" would have been racist, but "acting like
monkeys" is not. In any event, he explained, he did not mean it in any way to be racist, and

he had already explained that to the girls, and had apologized to them. Defendants
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 11 of 69

challenged his account of having apologized. He too was repeatedly confronted with the
claim that his friends call him racist, and asked to explain why.

34. Defendants knew full-well that the accusations against both EZ and ES were
frivolous.

35. J.H.C. was last to be interviewed. It began after he had been waiting in the
outer office for five hours. It began at around 1:00 p.m., and lasted about an hour. Here too
defendant knew full-well that the accusations against J.H.C. were frivolous, and here too
proceeded as if he were conducting an otherwise well-founded racism probe. It was
traumatic. Parts of that exchange went something like this.

Mr. Trogish: Well your friends say "yeah that's just J.H.C. he's racist." A
friend of yours said "well one time he said something racist and |
wanted to punch him right in the face, but I didn't because that's not
the right thing to do." Your own friends are saying that they want to
punch you because your being racist.

J.H.C.: (Crying) One of my friends said that? Well don't you think that if my
friends thought I was a racist they wouldn't want to be friends with
me?

Ms. Eaves: Well] disagree, | think they would just accept you're a racist and try
to look past it.

Mr. Trogish: One of them even said J.H.C. that said "slavery was the best thing to
happen to America" and that we should "bring it back." J.H.C. also
called black girls "monkeys and says nigger all the time."

J.H.C.: (Crying) And you're sure that it was one of my friends?

Mr. Trogish: Well] can't really disclose that information.

Mr. Trogish: Are you saying that you didn't say any of this?

J.H.C.: (Crying) Yes.
Mr. Trogish: So why do you think they said this?
J.H.C.: (Crying) Maybe it's because they don't like me...

Mr. Trogish: Let me grab the complaint here. I'm showing this to you because you
need to see it, not to hurt you.

J.H.C.: Okay.

Mr. Trogish: This was filed by a parent. "My child has brought to my attention that
J.H.C. has said such words and phrases as 'slavery was the best thing
to happen to America,’ 'We should bring slavery back,’ says "nigger"
all the time, laughed ata racially charged statement about being
woke, and called some African American students monkeys. | don't
feel that my child is safe around him.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 12 of 69

Ms. Young: So you're making it so they don't feel safe around you.

Ms. Eaves: So you see that you laughing that DE is woke was racist.

Mr. Trogish: Did you ever say that fade to black is bad or that we spend too much
time on black history?

J.H.C.: No. I might have said that we don't spend enough time on some
important things.

Mr. Trogish: What do you mean?

J.H.C.: Well we didn't go over a single word of the constitution till eighth
grade.

Mr. Trogish: Weare also worried about your safety, we don't want you to be hurt,
beat up, or jumped. For your safety, we might need to see if you need
to go to another school.

36. Defendant knew that it had not been J.H.C. who had been accused of the
"monkeys" remark, and that if J.H.C. had, in fact, used the N-Word “all the time," there
would be some corroboration. So too with the accusation that he said that "slavery is the
best thing that ever happened to this country, and it should be brought back." Yet,
defendant announced his intention to suspend J.H.C., as if he believed that accusations of
racist misconduct was a fact, and not a fiction.

37, That Friday afternoon, February 7, defendant Ervin told her entire afternoon
class that J.H.C., EZ, and ES are all against the school's celebration of Black History Month.

38. On Saturday, February 8, J.H.C. took his entrance examination to the High
School. He believes that he performed well.

CARE Investigation

39, On Monday, February 10, counsel emailed a letter to the General Counsel
District of Columbia Public Schools, its Deputy General Counsel, and defendants Trogish
and Eaves. That nine-page letter included the facts as set forth above, as well as copies of
the written accounts of EZ, ES, and J.H.C.. A copy of this correspondence is attached hereto

as Exhibit 1. It includes:
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 13 of 69

One reason that I have included the DCPS Office of General Counsel lawyers
as recipients of this letter is that 1 am requesting that it consider sending
someone over to the school to investigate. The conduct of the current
investigators in this case is among the issues to be resolved, so an
inciependent fact finder would seem appropriate.

40. | The General Counsel acceded to the request, and two investigators from the
DCPS Comprehensive Alternative Resolution & Equity Team, or "CARE," investigated.

41. On April 29, 2020, CARE issued its Response to Grievance No. 3686, a copy of
which is attached as Exhibit 2.

42. — J.H.C.'s grievance alleges that the genesis of the matter was a concerted effort
by a teacher, her mother, and other school personnel, to undermine, deflect attention away
from, and retaliate against, three students for their submissions of written accounts
regarding a black teacher's misconduct, by falsely accusing all three students of racial
animus. Yet, CARE purports to have investigated civil rights violations; Title VI of the Civil
Rights Act of 1964, and the DC Human Rights Act of 1977. CARE's statement of what it was
investigating:

The grievance alleges that School Without Walls at Francis-Stevens (SWWFS)
student, J.C., has made racist comments to and about his classmates
including, but not limited to, using the "N-word," stating that slavery was
good for America's economy and that it should be brought back, and stating
another student was "woke."

43. This statement does not respond to J.H.C.'s grievance. This is not civil rights
case. It is a whistleblower action.

44, CARE's response does, however, address whether J.H.C. did, in fact, espouse
racist, white supremacist rhetoric. All told, J.H.C. stands accused of:

(1) Stating that another student looked "woke;"
(3) Stating that African-American classmates “look like monkeys;”

(2) Using the "N-word;"
(4) | Championing slavery;
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 14 of 69

(5) | Championing Trayvon Martin's death; and
(6) Opposing Black History Month.

45.  CARE's Report concluded that all charges were “valid and reliable.” While
the “racial slurs,” were not “consistent” or “pervasive enough" to constitute a civil rights
violation, according to the Response, “DCPS will implement a progressive discipline
approach" if he does it again.

46. However, each and every charge is, on its face, incredible.

47. Woke. This is the first of CARE’s 10 Findings of Fact:

Finding 1

On February 4, 2020, Teacher N.E.'s theatre class was conducting a lesson
unit entitled “Culture Shock," which is a unit designed to analyze how
different groups of people are presented in the media. During the class
discussion, Student E was sitting next to two students of color. Student J.C.
stated that Student E looked “woke.” Use of this term was corroborated by
thirteen of the students interviewed.

48. The genesis of the belief that the “woke” comment had been racist was Ms.
Ervin's indignation at what she declared to the class was “racist rhetoric.” The undersigned
has twice sought defendants to proffer their theory of how saying that someone looks woke
could possibly have been be racist rhetoric. DCPS has yet to respond.

49. Monkeys. Defendants knew from reading the written accounts from EZ and
ES, as well as from ES's interview, that it was ES who had made this comment, that it had
been “acting like,” not “look like,” and that it had not been racist. But that did not diminish
defendants Trogisch and Eaves from prosecution of this charge against J.H.C., or ES. CARE
entirely omitted this accusation from its Finding of Fact.

50.  A-Werd. This allegation was made by the same student who had lied about

the monkeys comment, in the same email. Defendants were well aware of this fact, but

ignored that one false charge obviously impugns the veracity of the two others made by the
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 15 of 69

same student. CARE interviewed 15 students and two teachers, posits that J.H.C. used the
“N-word" “all the time,” but only one student is said to have ever heard it. The student
never told anyone until shortly after Ms. Ervin had declared to the class that J.H.C. had
uttered “racist rhetoric” and J.H.C. had reported defendant Ervin's various misconduct.

51. Slavery. Numbers 4, 5, and 6 in CARE's Findings of Fact accuse J.H.C. of
championing slavery.

52. CARE's Findings 4 and 5:

Finding 4

At least three students stated J.C. made comments along the lines of “slavery
was good for America and should be brought back." All three students stated
this happened in Teacher E.F.'s English Language Arts classroom.

Finding 5

Teacher C.O. also stated J.C. has made a comment similar to “slavery was
good for America” during class, which prompted a class discussion about
slavery being a human rights issue.

53. | CARE was tasked with determining what J.H.C. said. These are ostensibly
Findings of Fact. “Made comments along the lines of," and “made a comment similar to,"
are not facts. They are opinions. Moreover, J.H.C. could not have advocated for bringing
slavery back without uttering the words, “slavery should be brought back." Where an
individual is accused of espousing white supremacist rhetoric, due process requires more
than opinions of three listeners. It requires the facts of what the accused is alleged to have
said.

54. Findings 4 and 5 regard two separate class discussions, in two separate
classes, English and Geography. Class discussions are group communications, among more

than 25 people, over half of whom CARE interviewed. CARE reports in Finding 4, the

English class discussion, that J.H.C. had “made comments along the lines of" slavery should
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 16 of 69

be brought back, but only three recall it, none of them remember what he said, and none of
them, or anyone else, reported it, to anyone. CARE declined to interview the teacher, Mr.
Felinger.

55. In Geography, here too, of the 15 witnesses interviewed, only Ms. Ogunshakin
is said to have recalled J.H.C. saying that slavery was good for America, she too does not
recall exactly what he said, but, whatever it was, it was a “comment similar to." EZ had
sketched Martin Luther King, Jr. in Geography, and Ms. Ogunshakin had showed the "racist"
drawing to defendant Ervin, and to Ms. Young. And the “class discussion about slavery"
was a follow-up to a homework assignment, and was not “prompted” by anything that J.H.C.
had said.

56. Finding 6 at least has a specific assertion, rather than “made comments along
the lines of" or “made a comment similar to." It relates that a group of students, J.H.C.
among them, had opined that “slavery was good for the beginning of America's economy."
But only J.H.C. meant it to be racist, in DCPS's official view. The other students, but not
J.H.C., “prefaced that... slavery, in and of itself, was not right:"

Finding 6

One student stated that other students in addition to J.C. have stated that
slavery was good for the beginning of America's economy; however, they
prefaced that the other students have stated that slavery, in and of itself, was
notright. At least four students state they had not heard J.C. make comments
regarding slavery being good for America's economy. J.C. denies making this
statement.

57. | AndJ.H.C. did not deny making this statement because he was never asked.
The undersigned listened in on his interviews and CARE did not ask any such question.

58. CARE interviewed 14 students besides J.H.C., and asked each whether they

had heard J.H.C. champion slavery. Yet, it reported that “four students state they had not
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 17 of 69

heard" the comments, omitting whether the other 10 students had also denied having
heard any such thing.

59. Trayvon Martin.

Finding 7

At least two students stated they have heard J.C. make comments along the
lines of “Trayvon Martin was a disappointment" or “Trayvon Martin was a
thug and that he should have been shot."

60. Contrary to DCPS's recitation, J.H.C.'s remarks about the Trayvon Martin case
were made in front of around 25 other students and his English teacher Eric Felinger, not
“at least two students." During that class discussion, J.H.C. read from the police report from
a book that he had been reading that he happened to have in his backpack at the time,
showing that, before Martin had been shot, Zimmerman had suffered injuries, which had
been sufficient to prove in his criminal trial his defense of self-defense. Big mistake.

61. J.H.C. did not say anything “along the lines of" Martin “was a thug and that he
should have been shot.” Rather, he opined that Zimmerman had acted in self-defense. If
CARE even asked the other 12 witnesses that it interviewed, or Mr. Felinger, what J.H.C. had
said during that class discussion, it did not share those results. J.H.C. did not say that
“Trayvon Martin was a disappointment," and he does not know what that statement means,
or refers to.

62. CARE interviewed 14 students besides J.H.C., and asked each whether they
had heard J.H.C. champion Martin's death, and two students stated that he had. Here too
CARE omits the accounts of the other 12 students.

63. CARE prefaces all student witness numbers with the clause, “at least." This is

a curious insertion in a Findings of Fact. Finding 4 is “at least three students," and Findings

7 and 9 are “at least two students.” CARE interviewed each student to corroborate the
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 18 of 69

charges, took notes, but does not disclose how many of the 14 classmates did, or did not,
corroborate. Apparently, “at least two" means two.

64. Black History Month.

Finding 9
At least two students stated that J.C. has outwardly questioned why there is a
Black History Month.

65. The undersigned has heard J.H.C. complain about Black History Month. So
too regarding English class, math, geography, history, art, physical education, and the dress
code. The “at least" two students would appear to have believed that J.H.C.'s “outwardly
questioning” was founded on a racial animus, as CARE concluded. This charge is wholly
founded on the notion is J.H.C. is a racist. But he is not, contrary DCPS's official position.

66. DCPS's final Finding of Fact charge is devoid of facts:

Finding 10

One student stated that J.C. has made other racially insensitive and/or
offensive comments in the past and added “we let things slide." Additionally,
the student stated that they “let things slide" because they have “experienced
worse’ behavior by other people.

67. “Other racially insensitive and/or offensive comments" is a characterization,
only. Again, CARE declines to disclose what J.H.C. said that had been interpreted as
“racially insensitive and/or offensive"—a flagrant due process violation, again.

68. CARE wrote that “there was a total of 15 students interviewed," which it
numbered at the beginning of its Response. But it does not identify by number which
witnesses it cites in any of its 10 Findings of Fact. The largest number of corroborating
witnesses in any Finding is in number 4—three students. Findings 7 and 9 related the
accounts of two students, and 6, 8, and 10 rely on one. But CARE declines to state how

many of its Findings of Fact are based on the statements made by the same witness. Are the

only accusers the “three Black students who became upset" at the “woke” comment in Ms.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 19 of 69

Ervin's class, after she had misinformed them that it was a racial slur fone of whom lied to
her parent that |.H.C. “regularly used" the "N-word," as well as having said his black
classmates “look like monkeys"}?

69. CARE did not even disclose the total number of accusing students,

70. Not one of DCPS's accusations are true:

(1) Stating that African-American classmates

“look like monkeys" FALSE
(2) Stating that another student looked “woke" NOT RACIALLY
MOTIVATED
(3) Using the “N-word" FALSE
(4) | Championing slavery FALSE
(5) | Championing Trayvon Martin's death FALSE
(6) Opposing Black History Month NOT RACIALLY
MOTIVATED

71. | Conspicuously absent from CARE's Response is any mention of Ms. Irvin's
tirade to the class at J.H.C.'s having made the “woke” comment.

72. | Conspicuously absent from CARE's Response is any mention of what
defendants Trogisch and Ervin had said, who it listed as among the witnesses it
interviewed.

73. | Conspicuously absent from CARE's Response is any mention of the existence
of a second email, this one sent to defendant Trogisch about two weeks later, while CARE
was conducting interviews. It was from a parent of classmate BW. It accused J.H.C. as
having had said, verbatim, “Slavery was good for America," to BW, only. So, CARE
interviewed J.H.C. a second time. BW had claimed that J.H.C. voiced this white supremacist
rhetoric to her while sitting next to him in Geography. CARE learned that BW's assigned

seat was not at J.H.C.'s table, so this allegation had been discredited, seemingly.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 20 of 69

74. | While CARE was tasked with reporting what J.H.C. said, the only two
verbatim quotes it relates are the "N-Word," and “woke.” The first is a patent lie, and the
second simply cannot be interpreted as racist.

75. Here, the email had accused plaintiff of (1) the "monkeys" comment, (2) the
use of the “N-word," and (3) championing slavery. Defendants knew from the get-go that
the first two were false. CARE conspicuously omits any mention the first charge, purports
to have established “N-word" charge on the word of one student, and claims that the
slavery charge was true, based on the accounts of just three of the several dozen witnesses
who would have heard it. None of the three remembered what plaintiff said, except that
one did recall that plaintiff had been among a group of students who had all opined that it
may have been “good for the beginning of America’s economy.” CARE included defendant
Trogish's initial charges of (1) opposing Black History Month and (2) having made some
sort of “racially insensitive and/or offensive comment" that the listener had “let slide."
And CARE added championing Trayvon Martin's death, based on the accounts of just two of
the several dozen witnesses who would have heard that. In its Finding of Fact 1, by
contrast, CARE related that “the use of this term [woke] was corroborated by thirteen of
the students interviewed."

76. Here, EZ wrote that defendant Ervin "jumps straight to conclusion and portrays
something that was not intended to be hate speech a form of hate speech," and provided the
examples of (1) the use of the word, "woke," (2) his drawing of Martin Luther King, Jr., and (3)
the "monkeys" charge. Infra J 19. Undaunted, defendants Trogish and Eaves prosecuted all

three of these items as hate speech.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 21 of 69

77. Here, there were no reports of racism against any Eighth grade students until
February 7, the very day that three students—J.H.C., ES, and EZ—each submitted to
defendant Trogisch written reports of teacher misconduct against a black teacher who had
announced to the class, falsely, that J.H.C. had uttered “racist rhetoric." The charges were
levelled only against J.H.C., ES, and EZ. Prior to this time, in DCPS's view, J.H.C. had been
spewing white supremacist rhetoric for some time, but there had been no reaction
whatsoever, from anyone, until J.H.C. said, “woke.” No student had complained to any
authority at the school, there had been no complaints to, or by, any teacher, or to the
Principal, or to the Assistant Principal, or to the counselor, or to any parents, including the
undersigned.

78. The sudden emergence of the patently false racism charges, made only
against J.H.C., EZ and ES, occurred on the very day that they each had submitted written
accounts of a black teacher's misconduct, as defendant had instructed. This was no
coincidence. By the close of school day on February 6, defendants Trogisch, Eaves, and
Ervin all knew that J.H.C., EZ and ES, were to submit written accounts of Ms. Ervin's threats,
the next morning. Given this chronology of events, plaintiff avers, upon information and
belief, that the charging email had been made at the behest of defendants Trogisch, Eaves,
and Ervin, or some combination of these defendants.

79. While plaintiff knows the genesis of the false charges, he does not yet know
who initiated them, or the particulars of that communication, including which named
defendant had made the request to the reporting student, or to her parent. Plaintiff will

seek leave to amend his Complaint by specifying those particulars when the same has been
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 22 of 69

ascertained, and may substitute the names of other actors in the place and stead of the
fictitious name, Jane Doe.

80. Bifurcation. Here, according to DCPS, the veracity of the racism allegations
has nothing to do with the reports of teacher misconduct. They are wholly unrelated, in its
view, and it bifurcated the matter into two, separate, grievances. J.H.C. disagrees. As he
noted on February 10, this is one matter, not two:

On Friday morning, February 7, Mr. Trogisch calied me and toid me that he
would be conducting two separate investigations, one into the conduct of
theater teacher Ms. Naelis Ervin, and one into the conduct of my son, J.H.C....
Both matters are serious. But they are not "separate."

81. CARE followed defendant's approach. In its Response to Grievance No. 3682,
a copy of which is attached as Exhibit 3, CARE states the purview of this investigation:

It is alleged that on February 6, 2020, School Without Walls at Francis-
Stevens Teacher N.E. made threats to Student J.C., Student B, and Student C,
including, “next time I will slap some sense into you" and “don’t roll your
eyes at me again or Ill knock your teeth out" when approaching the students
about allegedly making racist comments. Additionally, it is alleged that
Principal R.T. used questionable methods to investigate the alleged
comments, such as interrogating Student J.C., Student B, and Student C for up
to five hours, falsely reporting that the students’ peers described them as
racist, threatening to expel, and failing to interview witnesses.

82. J.H.C.'s charge is that defendant knowingly and falsely accused three students
of racist misconduct, to cover up teacher wrongdoing, but that is not apparent in CARE's
statement.

83. Moreover, the facts as stated are false and misleading. Defendant was not

ty oe

investigating Ms. Ervin's “alleged comments.” All but a few minutes of the three hours of
interrogations were entirely devoted to racism accusations against the three reporting

students. Teacher misconduct was addressed only at the students’ insistence, each of

whom pleaded during interrogations, “What about Ms. Ervin?" And CARE recites that “it is
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 23 of 69

alleged" that Ms. Ervin threatened J.H.C.. No, itis not. Only defendant Trogisch threatened
J.H.C., with expulsion.

84. On May 6, 2020, J.H.C. administratively appealed the two Responses to his
single grievance. A copy of that appeal attached hereto as Exhibit 4.

85. High School Admission. “What is so disastrous here,” the undersigned wrote
on February 10, “is J.H.C.’s exposure to being denied admission to School Without Walls
High School."

After ten years at the school, with an excellent chance of acceptance into the
feeder, the day before he takes the entrance exam for the High School, J.H.C.
is wrongfully accused of being a racist, spewing racial epithets, and
threatened with expulsion.

86. | DCPS denied J.H.C. access to the High School. He placed 80th on a waitlist of
89. This was further retaliation for his having reported teacher misconduct. He should
have been accepted into the High School:

(a) _J.H.C. and two other advanced eighth graders take classes at the High
School. Every year since 2014 every other such student had been
admitted to the High School.

(b) |Hewas admitted to the other magnet high school, Benjamin
BannekKer, which has the same entrance standards.

(c) ].H.C. tests as reading above an 11th grade level.

(d) Heisalmosta straight-A student.

(e) J.H.C. did well on the High School admission written test, and his
interview went fine.

Count]
Injunctive Relief
(Defendant District of Columbia)
87.  Plaintiffrestates paragraphs one through 86 as if fully repeated here.
88. DCPS is obligated to admit or deny admissions to its magnet educational

institutions based solely on individual merit. Had it done so, plaintiff would have been

admitted to School Without Walls High School.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 24 of 69

8a. instead, DCPS denied plaintiff admission to the High School, in retallation for
plaintiff's having reported teacher misconduct.

9G. Plaintiffhas no adequate remedy at law, and prays that the Court order
defendant District of Columbia to admit plaintiff to the mapnet college preparatary
institution, School Without Walls High School, prior to the start of the next school year.

Count II
Violation of the First Amendment
of the United States Constitution
(Defendants District of Columbia, Trogisch, Eaves, and Ervin)

91.  Plaintiffrestates paragraphs one through 90 as if fully repeated here.

92. Constitutionally intolerable speech-based animus was at the core of
government's probe. From its inception, DCPS's targeting of plaintiff with threat of
expulsion for having espoused white supremacist views was undertaken in bad-faith. It
subsequently disseminated false and misleading facts in its Response to plaintiff's
grievance. Defendants’ misconduct was undertaken to undermine plaintiff's account of
defendants’ malfeasance, and to retaliate against him for reporting teacher threats, which
report had been consistent with his understanding of his duties as a good citizen.

93. Defendants’ conduct was in willful, wonton, and reckless disregard of
plaintiff's rights guaranteed by the First Amendment to the United States Constitution.

Count Il
Violation of the DC Human Rights Act
(Defendants District of Columbia, Trogisch, and Eaves)
94. Plaintiff restates paragraphs one through 93 as if fully repeated here.

95. Defendants targeted plaintiff for his having made a charge against Ms. Ervin.

96. CARE investigated, inter alia, violations of the DC Human Rights Act of 1977.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 25 of 69

97. The DC Human Rights Act, D.C. Code § 2-1402.61(b), Coercion or retaliation,
prohibits “any person to require, request, or suggest that a person retaliate against... a
person, because that person... has made a charge, testified, assisted, or participated in any
manner in an investigation, proceeding or hearing authorized under this chapter."

Count IV
Defamation
(All Defendants)

98. Plaintiff restates paragraphs one through 97 as if fully repeated here.

99. Defendant Ervin's pronouncement to the class that plaintiff had uttered
“racist rhetoric” was false, and defamatory, and constitutes slander per se. Her
announcement to her afternoon class that J.H.C. and the other two reporting classmates had
been opposed to the School's celebration of Black History Month was false, slanderous, and
made to further DCPS's position that the reports of defendant Ervin's misconduct were
false and motivated by racial animus.

100. All three charges levelled in the February 6 email were false, and libel per se.

101. All charges in CARE's Response to plaintiff's grievance are false, and each
constitutes libel per se. Most, if not all, of ].H.C.'s classmates, and probably most of the
School's administration, are well aware that DCPS charged plaintiff with voicing white
supremacist rhetoric. Absent the imposition of remedial measures, plaintiff can expect the
scorn of his contemporaries, or at least those who do not know him very well.

102. Plaintiff 14 years old. He should not have to bear the stain of having been

adjudicated as a young man as being an ignorant, and despicable, white supremacist.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 26 of 69

Count V
Intentional Infliction of Emotional Distress

(Defendants Trogisch, Eaves, and Ervin)

103. Plaintiffrestates paragraphs one through 102 as if fully repeated here.

104. By virtue of and asa direct and proximate cause of defendants’ intentional,
outrageous, wonton, oppressive, wrongful conduct, plaintiff has suffered, continues to
suffer, and probably will suffer in the future, severe emotional distress.

Count VI
Civil Conspiracy
(Defendants Trogisch, Eaves, Ervin, and Doe)

105. Plaintiffrestates paragraphs one through 104 as if fully repeated here.

106. The continuous and persistent course of defendants’ intentional wrongful
conduct establishes that the entire course of conduct was a single continuing action.

107. Wrongful acts alleged herein were overt acts of two or more defendants in
furtherance of the common goal of undermining plaintiff's report as untrue and having
been motivated by racial animus. The facts alleged constitute a civil conspiracy.

108. Because plaintiff's’ damages are the reasonably foreseeable, necessary or
natural consequences of the conspiracy, each member of that conspiracy is liable for
plaintiffs’ damages simply by virtue of his or her participation in that conspiracy.

109. Each defendant designated herein is responsible in some way for overt acts
of his or her fellow conspirators. Accordingly, each allegation against an individual named

defendant should be read to be made against all defendants, and all defendants are jointly

and severally liable for all of plaintiffs’ compensatory damages.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 27 of 69

WHEREFORE, plaintiff J.H.C. respectfully prays:

I. That the Court schedule an evidentiary hearing to adjudicate the equitable
relief sought, to be held prior to the start of the DCPS 2020-21 school year,
and to thereafter order Defendant District of Columbia to admit Plaintiff into
the freshman class at School Without Walls High School.

I. That judgment be entered in Plaintiff's favor:
A. Against all Defendants, jointly and severally, compensatory damages
in the amount of $100,000; and
B. Against each Defendant, separately, punitive damages in the amount
of $100,000.
Il. That the Court:
A. Award plaintiff reasonable attorney's fees and other costs associated
with the prosecution of this action; and
B. Grant such other and further relief that the Court deems just and
proper.

PLAINTIFF DEMANDS TRIAL BY JURY.

DATE: May 27, 2020.

Respectfully submitted,

/s/
John H. Clarke Bar No. 388599
1629 K Street, NW
Suite 300
Washington, DC 20006
(202) 344-0776
lohnbclarke@earthhnkmnet
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 28 of 69

Law Office

John H. Clarke
1629 K Street, NW
Suite 300
Washington, DC 20006

(202) 344-0776

John@JohnHClarkeLaw.com
Also Admitted in Virginia
and Maryland FAX: (202) 332-3030

February 10, 2020

By email scott. barash@k12.dc.gov
D. Scott Barash, Esquire

General Counsel
District of Columbia Public Schools

By email quinne. harris /lindsey@k12.dc.gov
Quinne Harris-Lindsey, Esquire

Deputy General Counsel
District of Columbia Public Schools

By email richard.trogisch@k12.dc.gov
Richard Trogish, Principal

School Without Walls at Francis Stevens
425 N Street, NW
Washington, DC 20037

By email sileaneaves@k12.dc.gov

Ms. Silean Eaves, Assistant Principal
School Without Walls at Francis Stevens
425 N Street, NW

Washington, DC 20037

re

Racism charges at School Without Walls at Francis Stevens
Dear Mr. Barash, Ms. Harris-Lindsey, Mr. Trogish, and Ms. Eaves:

On Friday morning, February 6, Mr. Trogish called me and told me that he
would be conducting two separate investigations, one into the conduct of theater
teacher Ms. Naelis Ervin, and one into the conduct of my son, i’ Ms. Ervin's
matter regards reports of threatening behavior toward students, and ggg is in
response to a written complaint from a parent reporting that his or her child had
recounted that jj had regularly used the “n word," had said that “slavery is the
best thing that ever happened to this country," and remarked that some of his
African-American classmates that they “look like monkeys."

 
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 29 of 69
2

Both matters are serious. But they are not "separate." Mr. Trogish and Ms.
Eaves, kindly let me know if you believe that there are any factual errors in the
following account of the events of Tuesday February 4, Thursday, February 6, and
Friday, February 7.

 

On Tuesday, Ms. Ervin had her the class rehearse a skit about instances of the
use of “blackface.” Ms. Ervin gave ij a friend of a scarf to wear.
remarked to] “You look very woke." A few minutes later, Ms. Ervin stopped
the rehearsal and said, “I need to remember that I am a teacher first.” The balance of
the exchange went something like this.

Ms. Ervin: What makes you think it's okay to say what you said
tof What did you say toy

] said ‘J you look very woke.”

Ms. Ervin: — Why did you say that tof Was it because he was
sitting next to two black people?

No.

Ms. Ervin: Really? Well then what was it?

Well like a person who cares a lot about being politically
correct, uh, uh, and like...

After Ms. Irvin berated J some more, i read the definition aloud.
Ms. Ervin repeated the definition.

Ms.Ervin: — Alert to injustice in society, especially racism. (Emphasis on
racism). I'm alert to injustice in society especially racism. ]am
very woke. Now next time you should know what a word
means before you call someone that! (To [jj I'm so sorry
that he said that to you. (To the class) Racist rhetoric will not
be tolerated.

On Thursday, February 6, the substitute teacher in Ms. Ervin's class had the
children play the game “telephone.” The phrase went around, i said to his
immediate neighbor, “Iraq is doomed," and the last person, revealed that the phrase
had morphed into ‘J is woke." Recalling Tuesday, J found it very funny
and started laughing, along with others. Shortly thereafter five or six girls started
jumping around and yelling at iy IT EE EI 20 J among others.
At one point, the girls yelled at] that it wasn't funny and to stop laughing.
WE stopped laughing, but others did not. J laughed some more, perhaps
the result of its contagious nature.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 30 of 69
3

Later in the day, Ms. Irvin encountered in the hallway, angrily pulled
him aside, and asked him and the other eighth graders present what had happened
earlier in the day with the substitute teacher. Upon being informed, Ms. Irvin said
that if something like this happened again she would “give everyone zero's for the
rest of the advisory,” and, while looking at jj Ezikiel, and ii said that if she
heard any similar statements or comments she would “call the police for hate
speech,” and have the event placed on the students’ “permanent records."

After scolding the group some more, Ms. Irvin said to jj that she was
extremely disappointed for letting his classmates “say racist things.” She continued,
“You can't let them do that." She also said, “I'm doing this because you're a brown,
black body,” and something like, “Next time I will slap the sense into you." And she
said, “Don't even try to do anything because | know the DCPS handbook inside and
out.” Then, reacting tof response, she said, “Don't roll your eyes at me ever
again or I will knock your teeth out."

Shortly after witnessing the threats, MJ inquired in the School's office and
asked whether teachers were permitted to threaten students. Another
administrator asked what happened, andj relayed the threats made to
and provided five names of witnesses to the incident. Later in the day, Jj told

that he had reported Ms. Irvin. J approved, and the two decided to return
to the School's office at dismissal time to report it again.

Another classmate witness, aa joined ij and in the office after
school to report the aforementioned threats as well as some others. They told Mr.
Trogish and Ms. Young about what happened, and Mr. Trogish instructed them to
reduce their accounts to writing. They all did, and submitted them Friday morning.
Copies of all three accounts are attached.

On Friday, February 7, shortly at approximately 9:10 a.m., gg was
summoned to the office, where and i were waiting, in the outer office.
At around 9:40, Ms. Vest said these are serious allegations and to remember to tell
the truth. Of course, the three thought that the inquiry was about Ms. Irvin. “That
gave me confidence because we were telling the truth and I reminded everyone to
stick to the truth,” ni” words.

At around 11:00, the first interrogation, of iii” began. Present for all
interrogations were four administrations, Principal Richard Trogish, Assistant
Principal Silean Eaves, Ms. Shanna Young, and Ms. Stephanie Beer. Ms. Eaves typed
notes, and Ms. Young wrote onto a notepad. J writes, J told me that
they called him in there to call him a racist and call us racists. He told me that they
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 31 of 69
4

specifically referred to me as a racist, and asked him “why are you lying?"
Throughout the interrogation, the questioners pressured Jj to incriminate
himself, J andj as racists. They asked, over and over again, whether he
was aware that his classmates think he's a racist, why he thinks they may have said
that, and why he would associate with jj the racist. The interrogators claimed
that his answers were “fiction.”

And they queried him about his having sketched a drawing of Martin Luther
King, Jr., with big ears. Ms. Young declared that she was “personally offended" by
the drawing. (QQ father saw the drawing and thought the allegation was silly.)

“Did jj andj pressure you to write what you wrote?" Mr. Trogish
asked. “Why are you protecting racists?" Apparently dissatisfied with his denials,

Mr. Trogish threatened to expel But, he continued, i” would
cooperate, things would go easier on him.

It lasted about an hour.

was next. This confrontation lasted just under an hour. The subject of

Ms. Irvin's threats were discussed for less than five minutes, just like
interrogation. [J was charged with having called the girls who were upset over
the telephone game's end-product, ‘Jj is woke," as having “looked like
monkeys." He repeatedly explained that he said they were “acting like monkeys.” In

view, the statement “looked like monkeys" would have been racist, but
“acting like monkeys" is not. In any event, he explained, he did not mean it in any
way to be racist, and he had already explained that to the girls, and had apologized
to them. His account of having apologized was challenged.

He too was repeatedly confronted with the claim that his friends call him
racist, and asked to explain why.

was next. It began around 1:00 p.m., and lasted around an hour. It
was traumatic. Parts of that exchange went something like this.

Mr. Trogish: Well your friends say “yeah that's just he's racist." A
friend of yours said “well one time he said something racist
and | wanted to punch him right in the face, but I didn't
because that's not the right thing to do." Your own friends are
saying that they want to punch you because your being racist.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 32 of 69

Ms. Eaves:

Mr. Trogish:

Mr. Trogish:

Mr. Trogish:

Mr. Trogish:

Mr. Trogish:

Mr. Trogish:

Ms. Young:

Ms. Eaves:

5

(Crying) One of my friends said that? Well don't you think that
if my friends thought! was a racist they wouldn't want to be
friends with me?

Well I disagree, ] think they would just accept you're a racist
and try to look past it.

One of them even said] that said “slavery was the

best thing to happen to America“ and that we should “bring it
back." Jj also called black girls “monkeys and says nigger
all the time."

(Crying) And you're sure that it was one of my friends?

Well I can't really disclose that information.

Are you saying that you didn't say any of this?

(Crying) Yes.

So why do you think they said this?

(Crying) Maybe it's because they don't like me...

Let me grab the complaint here. I'm showing this to you
because you need to see it, not to hurt you.

Okay.

This was filed by a parent. “My child has brought to my
attention that [ij J has said such words and phrases
as ‘slavery was the best thing to happen to America,’ 'We
should bring Slavery Back,’ says 'nigger' all the time, laughed
at a racially charged statement about being woke, and called
some African American students monkeys. | don't feel that my
child is safe around him.

So you're making it so they don't feel safe around you.

So you see that you laughing that ij is woke was racist.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 33 of 69
6

Mr. Trogish: Did you ever say that fade to black is bad or that we spend too
much time on black history?

f | No. I might have said that we don't spend enough time on
some important things.

Mr. Trogish: What do you mean?

f | Well we didn't go over a single word of the constitution till
eighth grade.

Mr. Trogish: Weare also worried about your safety, we don't want you to
be hurt, beat up, or jumped. For your safety, we might need to
see if you need to go to another school.

 

] appreciate Mr. Trogish's quick reaction to the charges, and for letting me
know within hours ofhis receipt of the parents’ complaint. And ] applaud his
seeming willingness to lay down the law that the conduct alleged absolutely will not
be tolerated. But | cannot have confidence in his approach in determining the facts.
During our short conversation on Friday morning, he presented the matter to me as
if it were fact. Not believing the classmate's account, I asked whether he had
corroboration, and he responded, “Not yet."

A complete investigation would include separate interviews of all witnesses
to the charges of the use of the n-word, as well as to the slavery remark—the same
procedure employed for the interviews of] I andj These
witnesses can be quizzed on the particulars of the statements-—-where each
occurred, what was said exactly, the catalyst for the statement (what was said
immediately prior}, who heard it, what did the interviewee do or say in response,
what did the other witnesses do or say in response, did the interviewee tell anyone
and if so who, and those accounts should be corroborated via inquiries to any such
recipients. And class schedules should be reviewed to corroborate the parties’
locations when each statement is said to have been made. All witness statements
should be compared to each other, just as should have been done using the

extensive notes taken during Friday's interrogations of yy I and

Additionally, Ms. Ervin's statements to Mr. Trogish shortly before the
interrogations began (whatever she said) may need to be corroborated via
interviews with students in the class.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 34 of 69
7

The probe may also seek the accounts off friends. His best friend
from Kindergarten through the Third grade is [Currently his closest
black friends 2. i aT PT
ee. and i iii If the fact finder would question whether yyy

may be more candid about his "racist" leanings to his white friends, interview

ee ee eee eee

[for one have never heard] make any remark that could possibly be
interpreted as racist or disparaging regarding any minority. Hence my initial
question to Mr. Trogish of whether there had been any correboration, a question
which has not yet been answered.

Here, the chronology of these matters begs scrutiny. Ms. Ervin threatened
students with bodily harm, the genesis of which is her mistaken belief that the
students had engaged in racist behavior. On Thursday, three students complained
to the administration about the threats. They are told to putitin writing. They did,
and provided the accounts the next day, Friday, at which time the administration
wrongfully accused the three, and only those three, of racist misconduct. The school
detained the students for up to five hours, during which time it surprised each with
charges of racism in separate, hours-long interrogations, employing such tactics as
falsely reporting to each that their friends had described them as racist and asking
them to explain, repeatedly, and offering to plea bargain te avoid suspension if one
would inculpate the others. The untoward appearance of these events is not heiped
by the fact that Ms. Eaves, an accuser and second-in-command at the school, is Ms.
Ervin's mother.

When Mr. Trogish responded “not yet" to my question of whether he had
obtained correboration, at 10:35 Friday morning, a and ii were in
the outer office, waiting, they ail thought, to be interviewed regarding Ms. Ervin's
misconduct. Knowing that the charge of J having made the "monkeys"
comment was false from his interview with Ms. Ervin that morning, Mr. Trogish
proceeded as if the other two charges had been established as fact, with no
correboration whatsoever. Mr. Trogish likely assumed that the student would not
allege such a patently verifiable allegation—that jj regularly used the word
“nigger"-—unless it was true. If so, he was wrong.

| have heard Mr. Trogish speak in public, attended a meeting with him, and
conversed with him a few times. We got along fine, and / liked him. But his
approach in this matter does not engender confidence. One reason that I have
included the DCPS Office of General Counsel lawyers as recipients of this letter is
that | am requesting that it consider sending someone over to the school to
investigate. The conduct of the current investigators in this case is among the issues
te be resolved, so an independent fact finder would seem appropriate.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 35 of 69
8

should not have laughed when some of his classmates became upset
over the use of the word “woke,” particularly since the offended students thought
that it was being used as racial slur, having been so misinformed by Ms. Irvin. That
reaction was a thoughtless mistake, only. {lam still perplexed how Ms. Irvin, Mr.
Tropish, and Ms. Eaves conclude that saying someone looks woke, or alert to
injustice in society, is racist.)

In any event, | am confident that any objective review of the evidence will
reveal that J is not even slightly racist, he has never championed slavery, and
he has never used the term nigger. Thus, | am not in the slightest bit concerned
whether J will be exonerated of these false, and despicable, charges.

And | am unconcerned with other aspects of the matter. [I do not particularly
care whether the reporting student is disciplined for his or her outrageous slander.
] am uncencerned whether remedial measures are taken to prevent future
misconduct by Ms. Irvin. [ don’t even care if she continues to threaten students. |
don’t care if racism at the school is real or merely perceived. And I don’t care about
the chilling effect that the School's actions might have on the likelihood of future
reports by students of teacher misconduct.

What is so disastrous here is] exposure to being denied admission to
School Without Wail High School. In writing my letter to the Mayor in 2012 in
support of the merger of Walls and Francis Stevens, | researched the School. Since
Walls scrutinizes grades earned beginning the fourth quarter of the seventh grade,
since then I have kept abreast of [gj homework and drilled into him the
importance of good grades in those quarters. I receive an email from Aspen every
time] receives below an A on any test or homework, we regularly review
together his grades on Aspen, and | have consulted several times about his
prospects for admission to Walls with his English teacher Mr. Fehlinger. So, after
ten years at the school, with an excellent chance of acceptance into the feeder, the
day before he takes the entrance exam for the High School, gj is wrongfully
accused of being a racist, spewing racial epithets, and threatened with expulsion.

GE fas also applied to Walls.

And there is another quite troubling aspect of the charges—damage to

reputation. | am open to any suggestions on how to ameliorate the damage to
reputation. The sooner action is taken the better. The institutional rumor-

mill is already quite active. It's only Monday and scores of people already know that

has been charged with being a racist. On Friday Ms. Ervin told her entire
afternoon class that J andj are responsible for her probably
getting fired, and that all three of them are against the school's celebration of Black
History Month.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 36 of 69
9

While I am aware that the school is obligated to withhold the identity of the
reporting student and his or her parents on privacy grounds, at least for now, due
process mandates that the accused know the allegations against him. So, please
provide me with a copy of the parent's email, with all identifying information
redacted. And, going forward, since ail documentation of both matters may at some
point be subject to court-ordered disciosure, all relevant records should be kept
complete.

] look forward to speaking with a lawyer from the DCPS Office of General
Counsel.

Sincerely,

/s/
John H. Clarke

Enclosures
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 37 of 69

Dear SWWFS,

As a student at your school | do not feel safe in the theater class any more because of the many
threats that were told to me and my classmates by the teacher. So How it started was that on
Tuesday I said to {J are you woke and Ms Ervin happened to hear what he said and
got pretty pissed off. Then she started to say stuff about how J was being racist and
asked, “did you say that because [J is in between two black people.” J said he did not
mean it that way but she didn't believe him and continued with a lot more accusation. Then on

- Thursday we were playing telephone with the substitute and so when that was happening a
student changed it to | am woke. After that was passed on to the end, almost all the girls jumped
up getting mad at {J even though (MM did not say that. Then they started getting loud

and started cursing at Jj but | don’t blame them because that was not right and very
unethical even though it was not ij who said it that time. But what I did was stand between
them andj cause it was getting very intense. Then when we were going down the stairs to
go to the auditorium | told the girls that we were not laughing at the racist comment but at you,
“How they were jumping around like monkeys,” but right after | realized what | said was not right
in that situation. | said sorry and that | didn't mean it in that racist way and that | meant it ina
way Off like very jumpy and moving around too much. Also | am black so | know of all those
racist comments that were directed to our kind so | would never mean it in that way. Then when
it was lunch time for the first lunch | was in the gym and was called out to go upstairs to talk to
Ms Ervin who just arrived at the school. There was a group of people outside of the class who
Ms Ervin was talking to so | joined the circle. She was very loud and was asking me what |
thought and asked what racist stuff was | saying and | said what because | forgot what

happened in the stairs because | thought we already resolved that. Then she said do you guys
have anything to say and | asked what did | say so racist and Skyler said what.! said when we
were going down the stairs. | told Ms Ervin that | didn’t mean it in that way and she said, “yeah
right you know what you meant,” and | rolled my eyes and she said don't roll your eyes at me
ever again or | will knock your teeth out in like a threat at least that is how it felt. She also said
something about slapping us. Then when she dismissed everyone and she held me literally and
said wait. She asked, “do you let them talk to you like that in a racist way” (them as in white
people) and | said no then she said that you should not support it and | said | don’t. Then she
went in the class and said don’t allow anyone to say the n word and said | wish any one would
say the n word around me | will knock their teeth out. Then | went back to pe and here we are
now.

Sincerely, i iii
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 38 of 69

| was told to give a written explanation of what events occurred and everything | knew about
them, and how | felt. To the best of my knowledge and memory all of this is true.

On February 4th, | went to school like | always do. | walked inside the school, entered the
auditorium, and spoke to my friends unti! our teacher came down. Ms. Naelis Ervin came down
and picked us up and brought us to the classroom. We put our things away, organized chairs
and sat down. She had us acting out a TMZ imitation skit about cases of blackface. We were
wearing t-shirts over our uniform to appear as normal peopie. JM a friend of mine, was given
a scarf to wear over his blue shirt. We acted out our skit arid ariother classmate,

stopped it to fix her hair. | said MM He responded with “Yeah”. | said “You lock very
woke”. [MM could not hear me with all the chitchatter going on and so he said “Huh?’. | then
repeated myself two or three more times. Unknown to me at the time was that Ms. Ervin heard
all of this. | just thought “ah forget it” and we continued the rehearsal.

We continued it but, about half way through Ms. Ervin stopped it to say, “I need to remember
that | am a teacher first.”, as if to remind her to constrain herself. She then also said

What makes you think it's ok to say what you said to [J “What?” | responded in a
confused tone. “What did you say to ’ she asked. | responded with “| said [J you
look very woke’ ”. “Why did you say that to she said. “Uh...” | muttered. She then cut
me off with “Was it because he was sitting next to two black peopie?”. Which | believe she said
to paint me as a racist. | said, “No”. “Really? Well then what was it?” she said. You have to
understand when I said “woke” | meant it as the urban dictionary definition of woke being, “The
act of being very pretentious about how much you care about a social issue”. | have seen many

videos of SJWs (social justice warriors) furiously yelling slogans and accusing with no evidence,
very civil and polite citizens.

| said “weli he looked like what i imagine a really woke person looking like”. Then she said “And
what does woke meani to you!?”. Startled and experiencing difficulty remembering the definition
| said, “Well like a person who cares alot about being politicaiiy correct, uh..., uh... and like”.
She was furious and yeiling. The whole time my heart was thumping and racing . A friend of
mine who was right next to me later described me as “looking like | was about to cry” and
“scared”. Right when she looked like she was beginning to caim down, EEE Do you
want me to tell you the oxford definition of woke?”. Ms. Ervin declined. A second later she
changed her mind (I read it outloud. He read out “Alert to injustice in society,
especially racism’. Ms. Ervin then repeated him “Alert to injustice in society, especially racism’ ,
with a strong emphasis on “especially racism”. She said “I'm alert to injustice is society
especially racism.” and “I am very woke”. She then resumed yelling at me at the top of her
lungs, saying something like “now next time you should know what a word means before you
call someone that’. Then she walked over to i and said something along the lines.of “I'm
so sorry that he said that to you” still hostile. She then backed up, faced the whole ciass and
said “Racist rhetoric will not be tolerated”. She then sat down in her chair and resumed the
class.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 39 of 69

| was incredibly upset arid angered inside from her implied accusations at that | am racist. She
spent a lot of the class yelling at me unprovoked because | thought [I was dressed like a
dumb rude college student. That was Tuesday.

On Thursday there was a sub. Precisely after engaging in SWW test preparations, in
Mr.Felinger’s room me and Caio walked to Ms.Ervin's room. We went there and saw the
substitute teacher, who was unaware that she was supposed to grab the class from the
auditorium. She was told of the procedure and we foilowed her down to pick up the class. Upon
the class in the classroom | put my things away and grabbed a seat as usual. Three people the
began leading everyone in reciting Ms. Ervin's mantra. After that [J tried to get everyone
to perform the TMZ skit already filmed two days prior. Someone suggested telephone and then
the substitute teacher said we were gonria play telephone. When the word got to the person
beside me | heard the word“*My’____ being shared to them and ther the person next to me
shared “Iraq is doomed”. | assumed i just saw it being changed and said “My iraq is doomed’.
Apparently i changed it to woke up’. Then after it went the rest of the way around it
was revealed to have become is woke". Hearing this | found it very funny and started
laughing. Shortly after this some 5 or 6 girls started yeiling at people and jumping around. They
were very angry that the telephone phrase became [jis woke”. They yelled at P|
GE nysett, BBB and | believe others as well. They harassed the new student, telling
him that he was an instigator. | told him something like “They don't matter” or * It doesn't matter”
to try to get him to ignore them. Which one of them overheard and then they became angrier.
They were yelling alot and sometimes jumping and making hand movements, | found all of this
particularily funny and laughed alot. This made them arigry.

Eventually J got them to caim down and then everyone went to the Auditorium for the Trivia
event. Sometime while in Ms. Ervin's room | lost something of mine. During lunch | came up to
try to study with Ms. Sunny Chang for the Walls test. On my way | was going to stop by Ms.
Ervin’s class to try to find the lost item. When leaving the stairwell | saw Ms. Ervin lecturing a
group of 8th graders. Not wanting to interrupt | tried to walk past but upon seeing me Ms. Ervin
angrily pulled me aside. She asked everyone there what happened earlier with the substitute.
She said that if she got angry about something like this again she would “give everyone zero’s
for the rest of the advisory” she also said that if any similar statements or comments she would
“cali the police for hate speech” She said we would have these events be added to our
permanent records. | seriously feit scared that she would change our permanent records and
change our grades to whatever she feels like.

Shortly after those threats she scolded everyorie some more arid then turned tof She said
that she was extremely disappointed for letting us “say racist things. You can't let them do that.
I'm doing this because you’re a brown, black body”. Then she said something like “ Next time |
will slap the sense into you”. After we went inside she threatened him again saying “ Don't roll
your eyes at me ever again or | will Knock your teeth out”. At a different time she threatened to
stab a child with scissors while making a stabbing motion.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 40 of 69

Incident

Dear Principai,

This incident today has affected many students. Many students in this class have
feit harassed by the school theater teacher. According to students the school theater
teacher has been over exaggerating the term “racist” and has been throwing this term
out of proportion. This teacher has threatened and | quote “I will knock your teeth out”.
This teacher has also made many students feel threatened to come to class.

The school theater teacher has mistaken the word “woke” to be a raciaily
offensive term. She has threatened “file a police report for hate crimes.” This teacher on
many occasions has threatened the whoie ciass with dropping their grades to an F for
anger towards certain students. This teacher wili randomly have outbursts in the
ciassroom. This teacher has said “that’s not your right and who do you think you are” for
a student practicing their first amendment right and then proceeded to kick the student
out the classroom.

This teacher does not do her research and jumps straight to conciusion and
portrays something that was not intended to be hate speech a form of hate speech. This
teacher does not flat out cali students racist but instead uses the term
“microaggression”. Another exampie of this is when a student who was bad at art
singled out a drawing of a historical figure among other drawings. This teacher failed to
mention that the other figures looked the same and only picked out the African
American.

She even proceeded to say “ if you draw another picture i’il make sure you’ii
never hoid a pencil again”. When the teacher wasn't physicaliy present today the
students were playing telephone and the message passed on was “J is woke” and
peopie took this as a raciaily insensitive term. This teacher then proceeded to call the
students up to iunch and proceeded to yell at him which intimidated the student.
Another prime example of this is when a student proceeded to say to a group of African
Americans “ you jumping around like a bunch of monkeys” which came out as a raciaiiy
offensive term even though he did not intend for it to be that way. The student who said
this was also of African descent. This teacher made the students feel very
uncomfortable. Many students have felt she has been aggressive towards individuals.
This teacher all in all has been aggressive to the point where students are intimidated to
the point of oppression. She has threatened to siap this individual.

- Anonymous
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 41 of 69

   

  

“ly

BY EMAIL AND FIRST-CLASS MAIL
April 29, 2020

Mr. John Clarke

2424 Pennsylvania Ave NW, Apt 410
Washington, DC 20037

johnhclarke @earthlink.net

RE: Letter of Response for Grievance #3686 filed on February 10, 2020
Dear Mr. Clarke:

In accordance with Chapter 24 Subtitle 5-B, Section 2405 of the District of Columbia Municipal
Regulations and Chapter 4, Subtitle 5-E, Section 405 of the District of Columbia Municipal Regulations of
the District of Columbia Municipal Regulations, D.C. Public Schools (DCPS) Comprehensive Alternative
Resolution and Equity (CARE) team has completed its investigation of the above referenced written
grievance.

Grievance Issues

Based on a review of the information provided, the grievance raised the following issues under the
jurisdiction of this office:

1. 5-B DCMR Subtitle 2405.1(d) & 2405.1(e) where it is alleged that there has been a violation of
Title VI of the Civil Rights Act of 1964 which prohibits discrimination on the basis of race, color
and national origin; and the D.C. Human Rights Act of 1977 which, in part, prohibits
discrimination on the basis of race and color.

a. The grievance alleges that School Without Walls at Francis-Stevens (SWWFS) student,
J.C., has made racist comments to and about his classmates including, but not limited to,
using the “N-word,” stating that slavery was good for America’s economy and that it
should be brought back, and stating another student was “woke.”*

Investigative Procedure

The investigation included interviews with the following individuals:

 

1. J.C., Student

 

1

As defined by Merriam-Webster: aware of and actively attentive to important facts and issues (especially issues of
racial and social justice)
* There was a total of 15 students interviewed.

 
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 42 of 69

J.C., Student J.C.’s guardian
Student A
Student A’s guardian
Student B
Student B’s guardian
Student C
Student C’s guardian
Student D

. Student E

. Student E’s guardian

. Student F

. Student G

. Student H

. Student |

. Student J

. Student K

. Student L

. Student M

. Student N

. R.T., Principal at SWWEFS

. S.Y., Associate Principal at SWWFS

. S.E., Assistant Principal at SWWEFS

. N.E., Teacher at SWWFS

. C.0., Teacher at SWWES

Ww oOnN aun FWD

NNNNNN RPP RP RP RP RP RP RP PB
oO BWNPF OW WAN DU BWNP OO

The investigation also included review of the following documents which were either submitted by the
complainant, submitted by the school, or accessible via DCPS data systems:

1. Letter from Parent of J.C. to DCPS dated February 10, 2020

General Findings of Fact

The following findings of fact resulted from the investigation:

1. On February 4, 2020, Teacher N.E.’s theatre class was conducting a lesson unit entitled “Culture
Shock”, which is a unit designed to analyze how different groups of people are presented in the
media. During the class discussion, Student E was sitting next to two students of color. Student
J.C. stated that Student E looked “woke.” Use of this term was corroborated by thirteen of the
students interviewed.

2. One student stated they took slight offense to the word “woke” being used after realizing what
it meant; however, they did not believe that J.C. meant it as a racist comment.

3. On February 6, 2020, during N.E.’s class, students participated in a game called “Telephone.”

This was corroborated by at least nine of the students interviewed. The final message at the end

 
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 43 of 69

of the game was mi is woke.” This caused at least three of the Black students to become
upset.

4. Atleast three students stated J.C. made comments along the lines of “slavery was good for
America and should be brought back.” All three students stated this happened in Teacher E.F.’s
English Language Arts classroom.

5. Teacher C.O. also stated J.C. has made a comment similar to “slavery was good for America”
during class, which prompted a class discussion about slavery being a human rights issue.

6. One student stated that other students in addition to J.C. have stated that slavery was good for
the beginning of America’s economy; however, they prefaced that the other students have
stated that slavery, in and of itself, was not right. At least four students state they had not heard
J.C. make comments regarding slavery being good for America’s economy. J.C. denies making
this statement.

7. Atleast two students stated they have heard J.C. make comments along the lines of “Trayvon
Martin was a disappointment” or “Trayvon Martin was a thug and that he should have been
shot.”

8. One student stated J.C. has used the “N-word” on multiple occasions. At least ten students
stated they have not personally heard J.C. use the “N-word.” J.C. stated he has never used the
“N-word.”

9. Atleast two students stated that J.C. has outwardly questioned why there is a Black History
Month.

10. One student stated that J.C. has made other racially insensitive and/or offensive comments in
the past and added “we let things slide.” Additionally, the student stated that they “let things
slide” because they have “experienced worse” behavior by other people.

Discussion/Conclusion

As a result of this review, DCPS has found the following:

DCPS finds that violations of 5-B DCMR Subtitle 2405.1(d) & 2405.1(e) are unable to be
substantiated. DCPS found the reported claims to be valid and reliable; however, there are
insufficient first-hand witness statements to corroborate the allegations that J.C. has consistently
made racial slurs or used racially charged statements toward other individuals with the intent to
create a hostile environment. J.C. also denied making some of the allegedly racially insensitive
comments. While the comments that were made by J.C. were inappropriate, there is insufficient
information to conclude that the behaviors were severe or pervasive enough to be a violation of the
regulatory provisions cited above. Additionally, DCPS does not have direct evidence to determine
that the comments made were done to intentionally discriminate.

Although DCPS could not substantiate regulatory violations, DCPS takes these issues extremely seriously
and does not tolerate racially inappropriate behavior of any kind in its schools. DCPS will implement a
progressive discipline approach under DCMR Chapter 25 §B 2502.1(c)(i)(3) if we find future evidence of
J.C. communicating slurs based on actual or perceived race or color.

 
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 44 of 69

Additionally, in an effort to address what appear to be some issues of racial intolerance or hostility at
SWWES, DCPS has taken or will take the following actions to address this matter:

1. On February 13, 2020, SWWFS staff facilitated a restorative circle with Teacher N.E.’s 1* period
class.

2. Before the start of school year 2020-21 student J.C. will participate in a reflective social
emotional activity (Think, Feel, Choose, Do) with a designated member of the school staff.

3. Before the start of school year 2020-21, the entire SWWFS administration, teachers, and staff
will participate in a Title VI training conducted by the DCPS CARE team.

4. The entire 8" grade class will participate in a virtual race and culture training conducted by the
DCPS Central Office before the end of SY 19-20.

5. Upon receipt of consent from the parent/guardian, Student A will receive 10 hours of counseling
from the school social worker to be completed by December 31, 2020.

6. Upon receipt of consent from the parent/guardian, Student B will receive 10 hours of counseling
from the school social worker to be completed by December 31, 2020.

7. Upon receipt of consent from the parent/guardian, Student D will receive 10 hours of counseling
from the school social worker to be completed by December 31, 2020.

8. Upon receipt of consent from the parent/guardian, Student N will receive 10 hours of counseling
from the school social worker to be completed by December 31, 2020.

As a party to this matter, if you are not satisfied with the outcome, you have the right to file an appeal.
Appeals must be submitted in writing and received within 10 calendar days of receipt of this notice.
Please submit appeal requests t to the Office of Integrity via U.S. Postal Mail to 1200 First St., NE, 10°
Floor; Attn: CIO or via email at &: eS ay. You may also contact the U.S. Department of

Education, Office for Civil Rights (1-800-421-3481) to report any educational discrimination.

If you have further questions, please do not hesitate to contact us at a
202.442.5405.

 

Sincerely,

Aes

Anitra Allen, Director, CARE

Cc: Principal
Instructional Superintendent

 
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 45 of 69

 

VIA EMAIL AND REGULAR MAIL
April 29, 2020

John Clarke

2424 Pennsylvania Ave. NW, Apt. 410
Washington, DC 20037

johnhclarke @earthlink.net

RE: Letter of Response for Grievance #3682 filed on February 10, 2020
Dear Mr. Clarke,

In accordance with Chapter 24 Subtitle 5-B, Section 2405 of the District of Columbia Municipal
Regulations, D.C. Public Schools (DCPS) Comprehensive Alternative Resolution and Equity (CARE) team
has completed its review of the above referenced written grievance.

Grievance Issues

Based on a review of the information provided, the written grievance raised the following issue under
the jurisdiction of this office:

1. 24 DCMR Subtitle 5-B, Section 2405.2(c): Where it is alleged that any student or group of
students is being subjected to an arbitrary or unreasonable regulation, procedure, or standard
of conduct

It is alleged that on February 6, 2020, School Without Walls at Francis-Stevens Teacher N.E. made
threats to Student J.C., Student B, and Student C, including, “next time | will slap some sense into you”
and “don’t roll your eyes at me again or I'll knock your teeth out” when approaching the students about
allegedly making racist comments. Additionally, it is alleged that Principal R.T. used questionable
methods to investigate the alleged comments, such as interrogating Student J.C., Student B, and Student
C for up to five hours, falsely reporting that the students’ peers described them as racist, threatening to
expel, and failing to interview witnesses.

Conclusion

 

DCPS has taken the following action as a result of these allegations:

1. Areferral was sent to Labor Management and Employee Relations (LMER) on February 28, 2020,
for the review and investigation of these allegations. Their findings and any disciplinary actions
will remain confidential due to employee privacy guidelines.

 
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 46 of 69

 

DCPS will review all available information related to this incident to determine whether employee
misconduct has occurred. Although DCPS appreciates your need to know the results of its review, we are
unable to share the results of personnel investigations, including any employee disciplinary action that
may have been taken, because this information is contained in confidential employee records.

If you are not satisfied with the outcome, you have the right to file an appeal. Appeals must be
submitted in writing and received within 10 calendar days of receipt of this notice. Please submit appeal
requests to the Office of f Integrity via U.S. Postal Mail to 1200 First St., NE, 11°" Floor, Attn: CIO or via
email at ¢ cgay. You may also contact the U.S. Department of Education, Office for Civil
Rights (1-800-421-3481) to report any educational discrimination.

 

 

If you have further questions, please do not hesitate to contact us at dens.cars
202.442.5405.

Sincerely,

Aho

Anitra Allen-King, Director CARE

Cc: Instructional Superintendent

 
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 47 of 69

Law Office

John H. Clarke
1629 K Street, NW
Suite 300
Washington, DC 20006

(202) 344-0776

John@JohnHClarkeLaw.com
Also Admitted in Virginia
and Maryland FAX: (202) 332-3030

May 6, 2020

By email dcps.care@k12.dc.gov
cc: richard.trogisch@k12.dc.gov, jerry.jellig@k12.dc.gov,
Eric.Fehlinger@k12.dc.gov, Cicely.Ogunshakin@k12.dc.gov

Comprehensive Alternative Resolution & Equity (CARE) Team
Office of the Chief Operating Officer

Innovation and Systems Improvement

District of Columbia Public Schools

1200 First Street, NE

First Floor

Washington, DC 20002

Re: Appeal of Response to Grievance No, 3686

Dear Ladies and Gentlemen:

CARE's April 29 letter responds to a grievance of violations of Title VI of the
Civil Rights Act of 1964, and the DC Human Rights Act of 1977. However, my
February 10 letter, which was the only document that investigators reviewed,
alleged no violations of Title VI of the Civil Rights Act, nor of the DC Human Rights
Act. I attach a copy of that grievance.

It alleges that the genesis of the matter was a concerted effort by a teacher,
her mother, and other school personnel, to undermine, deflect attention away from,
and retaliate against, three students for their submissions of written accounts
regarding a black teacher's misconduct, by falsely accusing all three students of
racial animus. The grievance has nothing to do with Title VI of the Civil Rights Act,
and the actions alleged do not implicate any of the DC Human Rights Act's anti-
discrimination provisions. Rather, my complaint alleges retaliation, First
Amendment violations, and defamation, and is akin to a whistleblower protection
grievance.

 
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 48 of 69

2

Investigative jurisdiction. CARE's statement of what it was investigating:

The grievance alleges that School Without Walls at Francis-Stevens
(SWWFS) student, J.C., has made racist comments to and about his
classmates including, but not limited to, using the “N-word," stating
that slavery was good for America's economy and that it should be
brought back, and stating another student was “woke.”

Again, this would not appear to be referring to] grievance.

CARE's Report addresses five of the six charges against ij and
concluded that all were “valid and reliable.” While the “racial slurs,” were not
“consistent” or “pervasive enough” to constitute a civil rights violation, “DCPS will
implement a progressive discipline approach" if he does it again. The allegations

are:

(1)
(2)
(3)
(4)
(S)
(6)

(1)

Stating that African-American classmates “look like monkeys;"
Stating that another student looked “woke;"

Using the “N-word;"

Championing slavery;

Championing Trayvon Martin's death; and

Opposing Black History Month.

(These last two would appear to be encompassed by the statement's
“including but not limited to" language).

African-American classmates "look like monkeys”

My grievance recounts that on Friday morning, February 6, Principal
Trogisch read to me the charges that had been emailed to him.

On Friday morning, February 6, Mr. Trogisch called me and told me
that he... had a written complaint from a parent reporting that his or
her child had recounted that [jj had regularly used the “n word,"
had said that “slavery is the best thing that ever happened to this
country,” and remarked that some of his African-American classmates
that they “look like monkeys."

CARE entirely omitted from its Report the “look like monkeys" charge. But it

is relevant.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 49 of 69
3

That matter was addressed in my grievance:

was next. This confrontation lasted just under an hour. The
subject of Ms. Ervin's threats were discussed for less than five
minutes, just like ij interrogation. Jj was charged with
having called the girls who were upset over the telephone game's end-
product, ‘J is woke," as having “looked like monkeys." He
repeatedly explained that he said they were “acting like monkeys.” In
WE View, the statement “looked like monkeys" would have been
racist, but “acting like monkeys” is not. In any event, he explained, he
did not mean it in any way to be racist, and he had already explained
that to the girls, and had apologized to them.

Mr. Trogisch instructed J to put his account of threatening behavior in
writing. JM included:

Then when we were going down the stairs to go to the auditorium |
told the girls that we were not laughing at the racist comment but at
you, ‘How they were jumping around like monkeys," but right after |
realized what | said was not right in that situation. I said sorry and
that I didn't mean it in that racist way and that I meant it in a way off
like very jumpy and moving around too much. Also! am black so |
know of all those racist comments that were directed to our kind so |
would never mean it in that way.

Before Mr. Trogisch commenced the surprise interrogations, he had read all
three accounts of the teacher threats, including ii Thus, he knew that the
“looked like monkeys" comment against was false, and misdirected, and that
it was “acting like," not “look like." Yet, that did not diminish his prosecution of this
charge against] Nor did he seem to recognize, or care, that one false charge
impugns the veracity of the two others, at least where all accusations had been
made by the same student.

Regarding the email, | wrote:

While I am aware that the school is obligated to withhoid the identity
of the reporting student and his or her parents on privacy grounds, at
least for now, due process mandates that the accused knew the
allegations against him. So, please provide me with a copy of the
parent's email, with all identifying information redacted.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 50 of 69
4

DCPS initially agreed to provide that email, but was later changed its
position. DCPS has no basis to withhold that record, and it asserts none.

(2) Stating that another student looked “woke”

CARE's Report levels DCPS charges in ten, numbered, General Findings of
Fact, all of which are, in its view, “valid and reliable.“ The first two findings are
accurate, but omit the most relevant reaction to the initial “woke” statement. CARE
writes:

1. On February 4, 2020, Teacher N.E.'s theatre class was conducting a
lesson unit entitled “Culture Shock”, which is a unit designed to
analyze how different groups of people are presented in the media.
During the class discussion, Student E was sitting next to two students
of color. Student J.C. stated that Student E looked “woke.” Use of this
term was corroborated by thirteen of the students interviewed.

2. One student stated they took slight offense to the word “woke” being
used after realizing what it meant; however, they did not believe that
J.C. meant it as a racist comment.

The remark had been occasioned by jj wearing a scarf, indoors. While
“one student” may have taken “slight offense" over [J having remarked,
, you look very woke," as DCPS relates, it declined to reveal that Ms. Ervin was
outraged. See grievance:

Ms. Ervin stopped the rehearsal and said, “] need to remember that |
am a teacher first.” The balance of the exchange went something like
this.

Ms. Ervin: [ What makes you think it's okay to say what you
said to What did you say toy

I said ‘BM you look very woke.”

Ms. Ervin: — Why did you say that tof Was it because he was
sitting next to two black people?

No.

Ms. Ervin: Really? Well then what was it?

Well like a person who cares a lot about being politically
correct, uh, uh, and like...

After Ms. Ervin berated J some more, i read the definition
aloud. Ms. Ervin repeated the definition.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 51 of 69
5

Ms.Ervin: — Alert to injustice in society, especially racism.
(Emphasis on racism). I'm alert to injustice in society
especially racism. Iam very woke. Now next time you
should know what a word means before you call
someone that! (To I'm so sorry that he said that
to you. (To the class) Racist rhetoric will not be
tolerated.

BE written account to Mr. Trogisch of the berating:

She was furious and yelling. The whole time my heart was thumping
and racing. A friend of mine who was right next to me later described
me as "looking like | was about to cry" and "scared."

Thus, the genesis of the belief that had made a racist comment was
Ms. Ervin's indignation at what she declared to the class was "racist rhetoric." As ]
related on February 8, "I am still perplexed how Ms. Ervin, Mr. Trogisch, and Ms.
Eaves conclude that saying someone looks woke, or alert to injustice in society, is
racist." CARE wrote, "As defined by Merriam-Webster: aware of and actively
attentive to important facts and issues (especially issues of racial and social
justice)."

But that does not respond to the question. By what reasoning is that racist?
Media pundits use the word in a derogatory context, meaning myopic, or misguided,
or pretentious. Progressives describe as woke Democrats who advocate social
justice issues while ignoring economic justice, while their conservative counterparts
use the term in disparaging the importance of social issues. My inability to discern
by what theory the comment was racist implicates due process. Again, by either its
dictionary definition, or in its conversational use, by what reasoning is saying
someone looks woke "racist rhetoric"?

In an "effort to address what appear to be some issues of racial intolerance or
hostility," CARE reports, "[o|]n February 13, 2020, SWWKSS staff facilitated a
restorative circle with Teacher N.E.'s 1st period class," where students were
encouraged to share their feelings about recent events beginning with
having used the word "woke." Jj remained silent, on advice of counsel. "Maybe
it was just the way he was raised," one student surmised. Three adults in the room
and it occurred to none to raise the question of how or why "you look woke" could
possibly have been racist.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 52 of 69

6

Finding 3

On February 6, 2020, during N.E.’s class, students participated in a
game called "Telephone." This was corroborated by at least nine of
the students interviewed. The final message at the end of the game
was ‘J is woke." This caused at least three of the Black students

to become upset.

The three girls upset by the word's resurgence had accepted Ms. Ervin's
pronouncement that it was racist rhetoric.

(3)

Use of "N-word"

Finding 8
One student stated J.C. has used the "N-word" on multiple occasions.
At least ten students stated they have not personally heard J.C. use the

"N-word." J.C. stated he has never used the "N-word."

Here, DCPS posits that used the "N-word on multiple occasions," or
“regularly” according to her parent's email, to one student, but not one of their 25
classmates ever heard it, even once. The witness never toid anyone until the
evening of the very day that Ms. Ervin had announced to the class that Jj had
uttered “racist rhetoric." This claim was in the same email that had alleged that

had said that his African-American classmates “look like monkeys,” which
had been known from the get-go to have made by jj not J and actually had
been “act like monkeys." And why did CARE write that the ten students had not
"personally" heard jij say it? Is it saying that any of the ten had heard from
others that jj had used this epithet?

I] wrote, “Perhaps Mr. Trogisch assumed that the student would not allege
such a patently verifiable allegation unless it was true... Not believing the
classmate’s account, | asked whether he had corroboration, and he responded, ‘Not

yet.”

| for one have never heard J make any remark that could
possibly be interpreted as racist or disparaging regarding any
minority. Hence my initial question to Mr. Trogisch of whether there
had been any corroboration, a question which has not yet been
answered.

CARE's General Finding of Fact includes the answer: No correboration

whatsoever.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 53 of 69

7

(4) Championing slavery

Finding 4

At least three students stated J.C. made comments along the lines of
“slavery was good for America and should be brought back." All three
students stated this happened in Teacher E.F.'s English Language Arts
classroom.

This is ostensibly a finding of fact. CARE was tasked with determining what

said. “Made comments along the lines of" is nota fact. It is an opinion, a
characterization. Would saying that white southern landowners prospered under
slavery be “along the lines of" saying that it was good for America? No. Would some
listeners characterize that as being along the lines of slavery was good for America?"
Yes. And what could anyone have said to advocate for bringing slavery back without
uttering the words, “slavery should be brought back." Is that what CARE alleges?
CARE finds racial animus based on the opinion of three listeners. Again, what did

a <2’

Findings 4 and 5, both of which allege championing slavery, regard two
separate class discussions, in two separate classes, English and Geography. Class
discussions are group communications. They were among 25 or so people, over half
of whom CARE interviewed. CARE reports in Finding 4, the English class discussion,
that had said that slavery should be brought back, but only three recall it, and
none of them, or anyone else, reported it, to anyone? If ] had heard anyone that I
knew say something like that I would remember, and I would recall exactly what he
said. But here, according to CARE, all three witnesses recall only that "made
comments along the lines of." What about the teacher? CARE did not ask Mr.
Felinger.

CARE was not able to compare the specifics of one witness's account with
two others, because none remember what aa said, only that his “comments
were along the lines of." Did all three remember that jj had said something
“along the lines of" slavery had been “good for America," and that it “should be
brought back," or do these two charges differ among the three? Did CARE ask
whether these witnesses had spoken each other about what they were to say when
interviewed?
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 54 of 69
8

CARE wrote that “there was a total of 15 students interviewed," which it
numbered at the beginning of its Response. But it does not identify by number
which witnesses it cites in any of its 10 Findings. The largest number of
corroborating witnesses in any Finding is in number 4—three students. Findings 7
and 9 related the accounts of two students, and 6, 8, and 10 rely on one. But CARE
declines to state how many of its Findings are based on the statements made by the
same witness. Are the only accusers the “three Black students who became upset"
at the “woke” comment in Ms. Ervin's class, after she had misinformed them that it
was a racial shur (one of whom lied to her parent that J "regularly uses the N-
word" and said his black classmates “look like monkeys"}? CARE should have
identified its witnesses by the number it assigned to them, and disclosed the total
number of accusing students.

Nor Did CARE ask whether any of these three witnesses whether they were
aware that three of their classmates had visited the office twice during that school
day to report Ms. Ervin's behavior, and had all been told to put it in writing. CARE
listed Ms. Ervin, Ms. Eaves, and Mr. Trogisch as among the witnesses it interviewed,
but CARE's Report does not mention anything that any of them said. When did Ms.
Ervin first learn from her mother, Assistant Principal Eaves, that Mr. Trogisch had
told the three reporting students to reduce their statements in writing? Are Ms.
Ervin or Ms. Eaves friends with the author of the accusing email, or friends with the
parents of the other two of Finding 4's witnesses?

Nor did CARE employ even the most rudimentary investigative techniques,
as I had asked:

A complete investigation would include separate interviews of all
witnesses to the charges of the use of the n-word, as well as to the
slavery remark—the same procedure employed for the interviews of

and J These witnesses can be quizzed on the
particulars of the statements—where each occurred, what was said
exactly, the catalyst for the statement (what was said immediately
prior), who heard it, what did the interviewee do or say in response,
what did the other witnesses do or say in response, did the
interviewee tell anyone and if so who, and those accounts should be
correborated via inquiries to any such recipients... All witness
statements should be compared to each other...

And what about the second email? Two weeks after my February 8 letter,
Mr. Trogisch called me a second time, relating that he had just received another

email, this one from iii iii parent, relating that had said, verbatim,
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 55 of 69
9

"Slavery was good for America," to] only. Mr. Trogisch provided the email to
the CARE personnel who were there that day interviewing witnesses. So, CARE
interviewed ij a second time.

had claimed that voiced this white supremacist rhetoric to her
while sitting next to him in Geography. CARE learned that jj assigned seat
was not at table, so this allegation had been discredited, seemingly. But
CARE omitted this charge from its Report, just like the “monkeys” allegation. Absent
word from DCPS to the contrary, I will assume that it also declines to disclose this
email to me, at least until compelled by the court to do so.

CARE prefaces all is student witness numbers with the clause “at least." This
is a curious insertion in a Finding of Fact. Finding 4 is “at least three students," and
Findings 7 and 9 are “at least two students." CARE interviewed each student to
corroborate the charges, took notes, but does not know exactly how many of the 15
students corroborated? Is “at least" meant to bolster its Findings? Does “at least
two" mean two?

Finding 5
Teacher C.O. also stated J.C. has made a comment similar to “slavery
was good for America” during class, which prompted a class

discussion about slavery being a human rights issue.

Regarding the class discussion in Geography, here too, of the fifteen
witnesses interviewed, only Ms. Ogunshakin is said to have recalled ij saying
that slavery was good for America, she too does not recall exactly what he said, but,
rather, he “made a comment similar to." Also, the “class discussion about slavery"
was a follow-up to a homework assignment, and was not “prompted" by anything

that had said.

Finding 6

One student stated that other students in addition to J.C. have stated
that slavery was good for the beginning of America's economy;
however, they prefaced that the other students have stated that
slavery, in and of itself, was not right. At least four students state they
had not heard J.C. make comments regarding slavery being good for
America's economy. J.C. denies making this statement.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 56 of 69
10

Finding 6 at least has a specific assertion, rather than “made comments along
the lines of,“ or “made a comment similar to." It relates that a group of students,
WE among them, had opined that “slavery was good for the beginning of
America's economy." But only jj meant it to be racist, in CARE's view. The
other students, but not “prefaced that... slavery, in and of itself, was not
right."

And did not deny making this statement because he was never asked.
] listened in on his interviews and CARE did not ask any such question.

CARE interviewed 14 students besides] Why did it report that “at
least four students state they had not heard" the comments? Why didn't it ask the
other 10?

(5) | Championing Trayvon Martin's death

Finding 7

At least two students stated they have heard J.C. make comments
along the lines of “Trayvon Martin was a disappointment" or “Trayvon
Martin was a thug and that he should have been shot."

Contrary to CARE's recitation, J remarks about the Trayvon Martin
case was made in front of around 25 other students and his English teacher Eric
Felinger, not “at least two students." During that class discussion, aaa read from
the police report from a book that he had been reading that he happened to have in
his backpack at the time, showing that, before Martin had been shot, Zimmerman
had suffered injuries, which had been sufficient to prove in his criminal trial his
defense of self-defense.

did not say anything “along the lines of" Trayvon “was a thug and that
he should have been shot." Rather, he opined that Zimmerman had acted in self-
defense. If CARE asked the other 12 witnesses that it interviewed, or Mr. Felinger,
what aaa had said during that class discussion, it did not share those results.

relates that he did not say that “Trayvon Martin was a disappointment," and
he does not Know what that statement means, or refers to. I don't know either.

How did and her two friends, feel about jj defending Trayvon
Martin's killer? What did Ms. Ervin think when she learned of it? Did this solidify
accusing students’ belief that J was a racist? Did that belief influence their
other allegations? CARE made no inquiry.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 57 of 69
11

(6) Opposition to Black History Month

Finding 9
At least two students stated that J.C. has outwardly questioned why
there is a Black History Month.

My letter addresses response to this claim during his interrogation:

Mr. Trogisch: Did you ever say that fade to black is bad or that we
spend too much time on black history?

f | No. I might have said that we don't spend enough time
on some important things.

Mr. Trogisch: What do you mean?

f | Well we didn't go over a single word of the Constitution
‘till eighth grade.

| have heard|J complain about Black History Month. | have also heard
him complain about English class, math, geography, history, art, physical education,
and the dress code. Did either of these “at least" two students believe that
“outwardly questioning" was founded on a racial attitude, as CARE posits? This
charge is wholly founded on the notion is] is a racist. But he is not, contrary
DCPS's official position.

Finding 10
One student stated that J.C. has made other racially insensitive and/or

offensive comments in the past and added “we let things slide.“ Additionally,
the student stated that they “let things slide" because they have “experienced
worse’ behavior by other people.

This finding of fact is devoid of facts. “Other racially insensitive and/or
offensive comments" is a characterization, only. Once again, what did J say
that was racially insensitive, “and/or” offensive?

 
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 58 of 69
12

CARE's findings of Genera! Finding of Fact are not “verified and reliable.”
Rather, they are all false:

(1) = Said African-American classmates “lock like monkeys" False

(2) Said that another student looked “woke" Not racist

(3) Using the “N-word" False

(4) | Championing Trayvon Martin's death False,
championed
Zimmerman's
defense

(5) Opposing Black History Month Not racially
motivated

The remaining accusation, championing slavery, is alleged to have been made
during the course of two class discussions, in separate classes, each attended by
around 25 people, yet CARE could find only three students to corroborate, none of
whom remember what aa said, except that one did describe a discussion of the
economic aspects of slavery, wherein several students opined that it had been good
for the economy, but only J view had been racist.

CARE was tasked with determining whether jj had, in fact, spewed
racial epithets and other white supremacist views. It purports to have determined
that he did. Butin ten Findings of Fact, CARE provides only two verbatim quotes—
the “N-word" and “woke." The first is a patent lie, and the second simply cannot be
construed as racist.

Here, there were no reports of racism against any eighth grade students until
February 5, the very day that three students, ay I and i cach
submitted to Mr. Trogisch written reports of teacher misconduct against a black
teacher who had announced to the class that jj had used “racist rhetoric." The

charges were levelled only against gg I anc

Prior to this time, in DCPS's view, i had been spewing white
supremacist rhetoric for some time, but there had been no reaction whatsoever,
from anyone, until jj said "woke." No student had complained to any authority
at the school, there had been no complaints to, or by, any teacher, or to the Principal,
or to the Assistant Principal, or to the counselor, or to any parents, including me.

The charges levelled against gj andj were equally frivolous.
was charged with saying that his classmates “looked like monkeys." But
interrogators were well aware that he had been explaining to the girls that “we were
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 59 of 69
13

not laughing at the racist comment but at you... jumping around like monkeys, but
right after I realized what I said... ] said sorry."

was charged with having sketched Martin Luther King, Jr., with big
ears. “] was personally offended," said Ms. Young. “Why would you associate with
the racist?" Mr. Trogisch asked. Ms. Ogunshakin, in whose class the sketch
had been drawn, had shown the “racist" drawing to Ms. Ervin. Perhaps Ms. Ervin is
not the only teacher who sees racism in the shadows. Ms. Ogunshakin, the only
adult among iii accusers, doesn't remember what aa had said in her class,
but whatever it was it was a “comment similar to" slavery being good for America.

 

Denial of Admissicn to School Without Walls High Schogi

“What is so disastrous here,” | wrote, "is | exposure to being denied
admission to School Without Walls High School."

After ten years at the school, with an excellent chance of acceptance
into the feeder, the day before he takes the entrance exam for the High
School, MM is wrongfully accused of being a racist, spewing racial
epithets, and threatened with expulsion.

Eighth grade students who are advanced two years ahead of grade level in
mathematics take that class at the High School ("Walls"). Last year, all of the
advanced math students were accepted into Walls. This year, only one of the three
was not accepted, MM He is 80th on a wait list of 86. He was accepted to the
other magnet high school, Benjamin Banneker, which has the same entrance
standards as Walls. He is almost a straight-A student, tested as reading above an
11th grade level in DCPS testing, did well on his written test, and his interview went
fine.

In February | wrote that I was “confident that any objective review of the
evidence will reveal that J is not even slightly racist, he has never championed
slavery, and he has never used the n-word. Thus, ] am not in the slightest bit
concerned whether will be exonerated of these false, and despicable,
charges." In asking DCPS lawyers to send someone to the school to investigate, |
observed that “the conduct of the current investigators in this case is among the
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 60 of 69
14

issues to be resolved, so an independent fact finder wculd seem appropriate.”
Nothing has changed, except for adding the issue of whether retaliation was a
contributing factor in DCPS's rejection of] from Walls, where Mr. Trogisch is
also the Principal.

Appeal of Grievance No. 3682
CARE's statement of this investigation:

It is alleged that on February 6, 2020, School Without Walls at
Francis-Stevens Teacher N.E. made threats to Student J.C., Student B,
and Student C, including, “next time I will slap some sense into you"
and “don’t roll your eyes at me again or I'll knock your teeth out"
when approaching the students about allegedly making racist
comments. Additionally, it is alleged that Principal R.T. used
questionable methods to investigate the alleged comments, such as
interrogating Student J.C., Student B, and Student C for up to five
hours, falsely reporting that the students’ peers described them as
racist, threatening to expel, and failing to interview witnesses.

Here too CARE completely misses the mark. My charge is that Mr. Trogisch
knowingly and falsely accused three students of racist misconduct, but that is not
apparent in CARE's statement.

Moreover, the facts stated are utterly false and misleading. Mr. Trogisch was
not investigating Ms. Ervin 's “alleged comments." All but a few minutes of the
three-plus hours of interrogations were entirely devoted to racism accusations
against the three reporting students. Teacher misconduct was addressed only at the
students’ insistence, each of whom pleaded during interrogations, “What about Ms.

Ervin?"

CARE states that “It is alleged” that Ms. Ervin threatened No, itis not.
Only Mr. Trogisch threatened jj with expulsion. Nor did Ms. Ervin threaten
"Student ,, iii He too was threatened with expulsion, unless he “cooperated.”
“Why are you protecting racists?" Mr. Trogisch queried

And the statement omits any review of the conduct of Ms. Eaves, Ms. Young,
or Ms. Beer. Nor does it include the incident of Ms. Ervin's having made a
threatening gesture to a student with scissors in hand, nor of her announcement to
her afternoon class that] J andj were all opposed to the school's
celebration of Black History Month.
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 61 of 69

15

As I noted on February 10, this is one matter, not two:

On Friday morning, February 6, Mr. Trogisch called me and told me
that he would be conducting two separate investigations, one into the
conduct of theater teacher Ms. Naelis Ervin, and one into the conduct
of my son, J Both matters are serious, But they are not
“separate.”

Here, the final disposition of grievance No. 3686 should largely determine the
outcome of grievance No. 3682. Since DCPS is following Mr. Trogisch's lead in
bifurcating i grievance, please also note his appeal in grievance No. 3682,
and kindly include this correspondence, with its attachments, in the administrative
record in that case. The record in both matters should also include the two emails,

sketch, Ms. Eaves’ typed notes during the three hours of interrogations, as
well as Ms. Young's handwritten notes.

The Labor Management and Employee Relations review should at least be
apprised of my view that DCPS employees falsely, and knowingly, accused three
students of racism, to cover up their own wrongdoing, and to retaliate against them
for reporting teacher malfeasance. In the absence of a developed administrative
record in the matter, as well as review of DCPS's statements of investigative
jurisdiction, LMER might very well conclude that Mr. Trogisch and company had
simply been too vigilant in their quest to prosecute an otherwise well-founded
racism probe. That is not true.

Absent word from DCPS to the contrary, I will assume that ] have no choice
but to seek redress in court to clear of these despicable accusations, and to

seek injunctive relief to gain his admission into Walls.

Sincerely,

/s/
John H. Clarke

Enclosures
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 62 of 69

Superior Court of the District of Columbia

CIVIL DIVISION- CIVIL ACTIONS BRANCH

' INFO TION SHEET
HZ. By sla Hovvic 4A thea nner 2020 CA 002622 B

 

 

Date:
Netbret of Ca! u wb iQ 2 a | we [ne of the defendants is being sued

in their official capacity.

 

 

 

~ E Pie Pri A r ON to Lawsuit

Att for Plaintiff
Fens lee Ip en <r Carlee 2 self Pr 50
MOVE -O7 70 BBE C1 Otter: _____

 

 

 

 

 

 

TYPE OF CASE: [1 Non-Jury 16 Person Jury CD 12 Person Jury

Demand: $ SS CO, OO. O Other:

 

PENDING CASE(S) RELATED TO THE ACTION BEING FILED
Case No.: ; Judge: Calendar #:

Case No.: Judge: Calendar#:

 

NATURE OF SUIT: (Check One Box Only)

 

A. CONTRACTS COLLECTION CASES
[J 01 Breach of Contract [7 14 Under $25,000 Pitf, Grants Consent [116 Under $25,000 Consent Denied
[[] 02 Breach of Warranty (FI 17 OVER $25,000 Pitf. Grants Consent] 18 OVER $25,000 Consent Denied
([) 06 Negotiable Instrument [J 27 Insurance/Subrogation (_] 26 Insurance/Subrogation
[_] 07 Personal Property Over $25,000 Pltf. Grants Consent Over $25,000 Consent Denied
[_] 13 Employment Discrimination [7] 07 Insurance/Subrogation (J34 Insurance/Subrogation
[7 15 Special Education Fees Under $25,000 Pitf, Grants Consent Under $25,000 Consent Denied

28 Motion to Confirm Arbitration
Award (Collection Cases Only)

 

B. PROPERTY TORTS
[J 01 Automobile (“J 03 Destruction of Private Property | [—) 05 Trespass
[71 02 Conversion [[) 04 Property Damage

(CF 07 Shoplifting, D.C. Code § 27-102 (a)

 

C. PERSONAL TORTS

 

(01 Abuse of Process Cp tivasion of Privacy [117 Personal Injury- (Not Automobile,
[-] 02 Alienation of Affection 11 Libel and Slander Not Malpractice)
[_] 03 Assault and Battery [-] 12 Malicious Interference CI 18Wrongful Death (Not Malpractice)
[] 04 Automobile- Personal Injury [1] 13 Malicious Prosecution (J 19 Wrongful Eviction
[_] 05 Deceit (Misrepresentation) [7] 14 Malpractice Legal ([] 20 Friendly Suit
[_] 06 False Accusation ([JE5 Matpractice Medical (Including Wrongft Deh) L_]21 Asbestos
[_] 07 False Arrest [C1] 16 Negligence- (Not Automobile, (J 22 Toxic/Mass Torts
[J 08 Fraud Not Malpractice) (123 Tobacco
(] 24 Lead Paint

 

 

SEE REVERSE SIDE AND CHECK HERE IF USED

CV-496/June 2015
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 63 of 69

Information Sheet, Continued

 

 

C. OTHERS
[J 01 Accounting (J 17 Merit Personnel Act (OEA)
(_] 02 Att. Before Judgment (D.C. Code Title 1, Chapter 6)
[_] 05 Ejectment (_] 18 Product Liability
(J 09 Special Writ/Warrants
(DC Code § 11-941) ([) 24 Application to Confirm, Modify,
(7) 10 Traffic Adjudication Vacate Arbitration Award (DC Code § 16-4401)
(“J 11 Writ of Replevin [1 29 Merit Personnel Act (OHR)
[J 12 Enforce Mechanics Lien [J] 31 Housing Code Regulations
[1 16 Declaratory Judgment (J 32 Qui Tam
([) 33 Whistleblower
ll.
[“) 03 Change of Name [7] 15 Libel of Information (J 21 Petition for Subpoena
[-) 06 Foreign Judgment/Domestic [_] 19 Enter Administrative Order as [Rule 28-I (b)]
(7) 08 Foreign Judgment/International Judgment [ D.C. Code § (7) 22 Release Mechanics Lien
[J 13 Correction of Birth Certificate 2-1802.03 (h) or 32-151 9 (a)] (7) 23 Rule 27(a\(1)
[_] 14 Correction of Marriage [J 20 Master Meter (D.C. Code § (Perpetuate Testimony)
Certificate 42-3301, et seq.) (—) 24 Petition for Structured Settlement
["] 26 Petition for Civil Asset Forfeiture (Vehicle) (J 25 Petition for Liquidation

(J 27 Petition for Civil Asset Forfeiture (Currency)
(J 28 Petition for Civil Asset Forfeiture (Other)

 

 

D. REAL PROPERTY

[_] 09 Real Property-Real Estate (_] 08 Quiet Title

(_] 12 Specific Performance (] 25 Liens: Tax / Water Consent Granted

[CJ 04 Condemnation (Eminent Domain) (30 Liens: Tax / Water Consent Denied

(_} 10 Mortgage Foreclosure/Judicial Sale (7) 31 Tax Lien Bid Off Certificate Consent Granted
[-] 11 Petition for Civil Asset Forfeiture (RP)

 

S- LE-RO

Attorney’s Signature Date

 

 

CV-496/ June 2015

 
ase 1:20-cv-01761-CRC DORVID@EVISIONIled 06/29/20 Page 64 of 69
Civil Actions Branch
500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
Telephone: (202) 879-1133 Website: www.dccourts.gov

  

J.H.C By Father and Next Friend JOHN HARRISON CLARKE
Plaintitt

 

vs.

2020 CA 002622 B

Case Number

 

DISTRICT OF COLUMBIA GOVERNMENT, et al
Defendant

 

SUMMONS
To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
to the plaintiff at the address stated on this Summons.

You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
judgment by default may be entered against you for the relief demanded in the complaint.

 

 

 

 

 

 

 

John H. Clarke Clerk of theiCourt
Name of Plaintiff's Attorney fs ap”
1629 K Street, NW, Suite 300 By ||
Address ;
Washington, DC 20006
(202) 344-0776 Date
Telephone
MF Biz, WH BE (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Dé co mét bai dich, hay goi (202) 879-4828

O45} A) 5} Af, (202) 879-4828 MOEA = AICS FOR ATTY? (202) 879-4828 Bear

IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS

ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

See reverse side for Spanish translation
Vea al dorso la traduccién al espafiol

CV-3110 [Rev. June 20171 Sumer. Ct. Civ. Ro 4
ase 1:20-cv-01761-CRC DOMWM®OIVISIONIled 06/29/20 Page 65 of 69
Civil Actions Branch
500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
Telephone: (202) 879-1133 Website: www.dccourts.gov

  

J.H.C By Father and Next Friend JOHN HARRISON CLARKE
Plaintiff

 

vs.

RICHARD TROGISCH, et al.

Defendant

Case Number _ 2020 CA 002622 B

SUMMONS
To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
to the plaintiff at the address stated on this Summons.

You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
judgment by default may be entered against you for the relief demanded in the complaint.

John H. Clarke

Name of Plaintiff's Attorney

 

 

 

 

  

  

 

 

 

1629 K Street, NW, Suite 300 By S |

Address \ Sy / Deputy €lerk

Washington, DC_20006 LP jp GO

(202) 344-0776 Date 05/29/2020

Telephone

S073 Biz, FT Bis (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Dé cé mét bai dich, hay goi (202) 879-4828

HO}SF AS} APB, (202) 879-4828 RE MEIPMKS «= enric Fcre ACTTTH (202) 879-4828 Lear

IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS

ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

See reverse side for Spanish translation
Vea al dorso la traduccién al espafiol

CV-3110 fRev. Tune 20171 Snner. Ct Civ. R 4
ase 1:20-cv-01761-CRC DGEVEhdPEVESIONjled 06/29/20 Page 66 of 69
Civil Actions Branch
500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
Telephone: (202) 879-1133 Website: www.dccourts.gov

  

J.H.C By Father and Next Friend JOHN HARRISON CLARKE
Plaintiff

 

VS.

SILEAN EAVES, et al.

Case Number _ 2020 CA 002622 B

Defendant

SUMMONS
To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer inust be mailed

to the plaintiff at the address stated on this Summons.

You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
judgment by default may be entered against you for the relief demanded in the complaint.

 

    

 

 

 

 

 

 

John H. Clarke Clerk ohare |
Name of Plaintiff's Attorney {> S oy" oN

1629 K Street, NW, Suite 300 By aot Ty —

Address \S Dept Clerk

Washington, DC 20006 \eiep ro

(202) 344-0776 Date 05/29/2020

Telephone

SOS BF, WHIT Big (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Dé co mét bai dich, hay goi (202) 879-4828

Ode As} APB, (202)879-4828 MAMIE = eNTECS FO7" ATTTTF (202) 879-4828 ego-r

IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS

ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME,

If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

See reverse side for Spanish translation
Vea al dorso la traduccién al espafiol

CV-3110TRev Tune 20171 Soner. Ct. Civ. R. 4
ase 1:20-cv-01761-CRC DOEVERAPEVESIONiled 06/29/20 Page 67 of 69
Civil Actions Branch
500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
Telephone: (202) 879-1133 Website: www.dccourts.gov

  

J.H.C By Father and Next Friend JOHN HARRISON CLARKE
Plaintiff

 

VS.

2020 CA 002622 B

Case Number

 

NAELIS ERVIN, et al.

Defendant

SUMMONS
To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
to the plaintiff at the address stated on this Summons.

You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
judgment by default may be entered against you for the relief demanded in the complaint.

 

    
   
 

 

 

 

 

 

John H. Clarke Clerk of theCoyrt
Name of Plaintiff's Attorney (Ss. fe eo

1629 K Street, NW, Suite 300 By ohh
Address SG ;

Washington, DC 20006 OF OF COS

(202) 344-0776 Date 05/29/2020

Telephone

M1 Biz FT BE (202) 879-4828 Veuillez appeler au (202) 879-4828 pour une traduction Dé cd mét bai dich, hay goi (202) 879-4828

HO AS APB, (202) 879-4828 BISA = earace® 2079 ACTTT? (202) 879-4828 efor

IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS

ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

See reverse side for Spanish translation
Vea al dorso la traducci6n al espafiol

CV-3110 Rev Inne 30171 Suner. Ct. Civ. R. 4
ee

Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 68 of 69
CSN

  

Sy SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
CIVIL DIVISION
Civil Actions Branch
500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
Telephone: (202) 879-1133 * Website: www.dccourts.gov

JOHN HARRISON CLARKE
Vs. C.A. No. 2020 CA 002622 B
DISTRICT OF COLUMBIA GOVERNMENT et al

INITIAL ORDER AND ADDENDUM

Pursuant to D.C. Code § 11-906 and District of Columbia Superior Court Rule of Civil Procedure
(“Super. Ct. Civ. R.”) 40-I, it is hereby ORDERED as follows:

(1) Effective this date, this case has assigned to the individual calendar designated below. All future filings
in this case shall bear the calendar number and the judge’s name beneath the case number in the caption. On
filing any motion or paper related thereto, one copy (for the judge) must be delivered to the Clerk along with the
original.

(2) Within 60 days of the filing of the complaint, plaintiff must file proof of serving on each defendant:
copies of the summons, the complaint, and this Initial Order and Addendum. As to any defendant for whom
such proof of service has not been filed, the Complaint will be dismissed without prejudice for want of
prosecution unless the time for serving the defendant has been extended as provided in Super. Ct. Civ. R. 4(m).

(3) Within 21 days of service as described above, except as otherwise noted in Super. Ct. Civ. R. 12, each
defendant must respond to the complaint by filing an answer or other responsive pleading. As to the defendant
who has failed to respond, a default and judgment will be entered unless the time to respond has been extended
as provided in Super. Ct. Civ. R. 55(a).

(4) At the time and place noted below, all counsel and unrepresented parties shall appear before the
assigned judge at an initial scheduling and settlement conference to discuss the possibilities of settlement and to
establish a schedule for the completion of all proceedings, including, normally, either mediation, case evaluation,
or arbitration. Counsel shall discuss with their clients prior to the conference whether the clients are agreeable to
binding or non-binding arbitration. This order is the only notice that parties and counsel will receive
concerning this Conference.

(5) Upon advice that the date noted below is inconvenient for any party or counsel, the Quality Review
Branch (202) 879-1750 may continue the Conference once, with the consent of all parties, to either of the two
succeeding Fridays. Request must be made not less than seven business days before the scheduling conference
date.

No other continuance of the conference will be granted except upon motion for good cause shown.

 

(6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil
cases, each judge’s Supplement to the General Order and the General Mediation Order. Copies of these orders
are available in the Courtroom and on the Court’s website http://www.dccourts. gov/.

 

Chief Judge Robert E. Morin

Case Assigned to: Judge ROBERT R RIGSBY
Date: _May 29, 2020
Initial Conference: 10:00 am, Friday, September 11, 2020
Location: Courtroom 201
500 Indiana Avenue N.W.
WASHINGTON, DC 20001

 

CAIO-60
Case 1:20-cv-01761-CRC Document 1-2 Filed 06/29/20 Page 69 of 69

ADDENDUM TO INITIAL ORDER AFFECTING
ALL MEDICAL MALPRACTICE CASES

In accordance with the Medical Malpractice Proceedings Act of 2006, D.C. Code § 16-2801,
et seq. (2007 Winter Supp.), "[a]fter an action is filed in the court against a healthcare provider
alleging medical malpractice, the court shall require the parties to enter into mediation, without
discovery or, if all parties agree[,] with only limited discovery that will not interfere with the
completion of mediation within 30 days of the Initial Scheduling and Settlement Conference
("ISSC"), prior to any further litigation in an effort to reach a settlement agreement. The early
mediation schedule shall be included in the Scheduling Order following the ISSC. Unless all
parties agree, the stay of discovery shall not be more than 30 days after the ISSC."
D.C. Code § 16-2821.

To ensure compliance with this legislation, on or before the date of the ISSC, the Court will
notify all attorneys and pro se parties of the date and time of the early mediation session and the
name of the assigned mediator. Information about the early mediation date also is available over
the internet at https://www:dccourts.gov/pa/. To facilitate this process, all counsel and pro se
parties in every medical malpractice case are required to confer, jointly complete and sign an
EARLY MEDIATION FORM, which must be filed no later than ten (10) calendar days prior to the
ISSC. D.C. Code § 16-2825 Two separate Early Mediation Forms are available. Both forms may be
obtained at www.dccourts.gov/medmalmediation. One form is to be used for early mediation with a
mediator from the multi-door medical malpractice mediator roster; the second form is to be used for
early mediation with a private mediator. Both forms also are available in the Multi-Door Dispute
Resolution Office, Suite 2900, 410 E Street, N.W. Plaintiffs counsel is responsible for eFiling the
form and is required to e-mail a courtesy copy to earlymedmal@dcsc.gov. Pro se Plaintiffs who
elect not to eFile may file by hand in the Multi-Door Dispute Resolution Office.

A roster of medical malpractice mediators available through the Court's Multi-Door Dispute
Resolution Division, with biographical information about each mediator, can be found at
www.dccourts.gov/medmalmediation/mediatorprofiles. All individuals on the roster are judges or
lawyers with at least 10 years of significant experience in medical malpractice litigation.
D.C. Code § 16-2823(a). If the parties cannot agree on a mediator, the Court will appoint one.
D.C. Code § 16-2823(b).

The following persons are required by statute to attend personally the Early Mediation
Conference: (1) all parties; (2) for parties that are not individuals, a representative with settlement
authority; (3) in cases involving an insurance company, a representative of the company with
settlement authority; and (4) attorneys representing each party with primary responsibility for the
case. D.C. Code § 16-2824.

No later than ten (10) days after the early mediation session has terminated, Plaintiff must
eFile with the Court a report prepared by the mediator, including a private mediator, regarding:
(1) attendance; (2) whether a settlement was reached; or, (3) if a settlement was not reached, any
agreements to narrow the scope of the dispute, limit discovery, facilitate future settlement, hold
another mediation session, or otherwise reduce the cost and time of trial preparation.
D.C. Code§ 16-2826. Any Plaintiff who is pro se may elect to file the report by hand with the Civil
Actions Branch. The forms to be used for early mediation reports are available at
www.dccourts.gov/medmalmediation.

Chief Judge Robert E. Morin

CAIO-60
